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                                     #:26492



1       CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
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2
        Carlos Holguín (Cal. Bar No. 90754)
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4
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               crholguin@centerforhumanrights.org
7       Attorneys for plaintiffs
8
        (Additional counsel listed next page)
9

10
                                   UNITED STATES DISTRICT COURT

11                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12                                                     )
        JENNY LISETTE FLORES, et al.,           ) Case No. CV 85-4544 DMG
13                                              ) (AGRx)
14                     Plaintiffs,              )
                                                ) EXHIBITS 1-5 IN SUPPORT OF
15              - vs -                          ) PLAINTIFFS’ MOTION FOR AWARD
16                                              ) OF ATTORNEYS FEES AND COSTS
        WILLIAM P. BARR, ATTORNEY               )
17      GENERAL OF THE UNITED STATES,           ) Hearing: ___________
18      et al.,                                 ) Time: 9:30 a.m.
                                                ) Room: 1st Street Courthouse
19                     Defendants.              ) Courtroom 8C
20                                           _         ) [HON. DOLLY M. GEE]
                                                       )
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2             Plaintiffs’ counsel, continued:
3
        LA RAZA CENTRO LEGAL, INC.
4       Michael S. Sorgen (Cal. Bar No. 43107)
        474 Valencia Street, #295
5
        San Francisco, CA 94103
6       Telephone: (415) 575-3500
7
        THE LAW FOUNDATION OF SILICON VALLEY
8       LEGAL ADVOCATES FOR CHILDREN AND YOUTH
9
        Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
        Katherine H. Manning (Cal. Bar No. 229233)
10      Annette Kirkham (Cal. Bar No. 217958)
11
        4 North 2nd Street, Suite 1300
        San Jose, CA 95113
12      Telephone: (408) 280-2437
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14       kate.manning@lawfoundation.org
15       annettek@lawfoundation.org

16      Of counsel:
17
        YOUTH LAW CENTER
18      Virginia Corrigan (Cal. Bar No. 292035)
19      832 Folsom Street, Suite 700
        San Francisco, CA 94104
20      Telephone: (415) 543-3379
21

22      ///
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                              Exhibit 1
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                                Declaration of Peter Schey

         I, Peter Schey, declare and say as follows:

1. I am one of the class counsel representing plaintiffs in this action. I am employed

   by, and serve as President of the Center for Human Rights and Constitutional Law

   (CHRCL), a non-profit, public interest law firm that provides free legal

   representation to indigent immigrants and refugees. I execute this declaration in

   support of plaintiffs' motion for an award of attorney's fees pursuant to the Equal

   Access to Justice Act, 28 U.S.C. § 2412(d).

2. I was admitted to practice before the Supreme Court of the State of California in

   December 1973. I have since then been admitted to practice in the United States

   District Court for the Central District of California, the United States District Court

   for the Eastern District of California, the United States District Court for the

   Southern District of California, the United States District Court for the Northern

   District of California, the United States Circuit Court of Appeals for the Ninth

   Circuit and the United States Supreme Court.

3. Since 1974 my practice has focused on complex litigation, advocacy and technical

   support in furtherance of the rights of vulnerable communities, in particular

   immigrants and refugees. As regards legal support services, the California Legal

   Services Trust Fund has funded CHRCL since 1982 to provide technical support




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   and training to qualified legal services programs and attorneys serving pro bono

   publico in the areas of immigration law, constitutional law, and impact litigation.

   In my capacity as CHRCL’s President, I regularly provide technical support,

   advocacy support and training to legal aid and pro bono lawyers on immigration

   law, constitutional law, and complex litigation.

4. In the area of litigation, I have served as lead or co-counsel in numerous major

   class actions on behalf of immigrants and refugees, including Plyler v. Doe, 457

   U.S. 202 (1982), a state-wide class action that established the right of children to a

   public elementary education regardless of their immigration status; Reno v. Flores,

   507 U.S. 292 (1993), which resulted in a nationwide settlement fixing standards for

   the housing and release of children arrested pending deportation proceedings;

   Perez-Olano v. Gonzalez, 248 F.R.D. 248 (C.D. Cal. 2008), which resulted in a

   nationwide settlement expanding eligibility for special immigrant status, an

   immigration benefit for abused, abandoned and neglected children; We Are

   America v. Maricopa County, 297 F.R.D. 373 (D. Ariz. 2013), a state-wide class

   injunction against prosecuting migrants for conspiring to transport themselves;

   Orantes-Hernandez v. Smith, 541 F.Supp. 351 (C.D. Cal. 1982), a national class

   action on behalf of Salvadoran nationals blocked from applying for political

   asylum; League of United Latin American Citizens v. Wilson, 908 F. Supp. 755




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   (C.D. Cal. 1995), a state-wide class action that overturned a state proposition that

   would have denied health care, social services and education to suspected

   undocumented immigrants; Catholic Social Services v. Immigration and

   Naturalization Service, 232 F.3d 1139 (9th Cir. 2000) (en banc), a national class

   action that restored the right of some 500,000 class members to apply for

   legalization under the Immigration Reform and Control Act of 1986; Lopez v. INS,

   Cv. No. 78-1912-WB(xJ), nation-wide settlement impacting requiring persons

   arrested by the INS to be provided written advisal of their legal rights, including

   the right to apply for political asylum and a period of time to consult with attorneys

   before post-arrest interrogation and deportation; Munoz v. Bell, Cv. No. 77-3765-

   WG (C.D. Cal. 1978), federal case resulting in court-approved nation-wide

   settlement requiring Immigration Judges to advise all persons in deportation

   proceedings of free legal services available to indigent immigrants.

5. My market rate based on my years in practice, experience and rate when working

   on private cases is $950/hour. My resume is attached as Exhibit B.

6. I am able to converse with class members and their mothers in Spanish. The

   majority of class members in the litigation the CHRCL conducts, including Flores,

   are monolingual Spanish-speakers, and the ability to communicate with these class

   members in their native language is invaluable.




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7. The successful prosecution of the instant ex parte application opposing

   Defendants’ Ex Parte Application for Limited Relief from the Flores Settlement

   [Docket # 435] required an unusual combination of skills, knowledge, and

   experience. Since 1985 CHRCL General Counsel Carlos Holguin and I have

   devoted a substantial part of our practice to working with immigrant and refugee

   minors; I believe that the insight we have developed with this population through,

   for example, our work in litigating, negotiating and monitoring the settlement in

   Flores v. Lynch, was invaluable to the success of the opposition to Defendants’ Ex

   Parte Application.

8. I have attached records of time spent on opposing Defendants’ Ex Parte

   Application. Exhibit A to this declaration sets forth an itemization of this time. My

   activities sometimes comprise of several related tasks. For example, when

   shepardizing a case I normally review cases identified and then often further

   shepardize those cases and review other significant sources relied upon by

   decisions including statutes, regulations, legislative history, etc.

9. I routinely exercise billing judgment by not seeking reimbursement for multiple

   tasks including for example routine brief discussions about the litigation with co-

   class counsel Carlos Holguin, and other co-counsel, etc.

10. The total time I believe compensable for my work on plaintiffs’ opposition to




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  Defendants’ Ex Parte Application is 36 hours, as reflected in the attached

  itemization.

        I declare under penalty of perjury that the foregoing is true and correct.

  Executed this 28th day of May, 2019, at Oak View, California.




                                                      Peter Schey




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                            Exhibit 1-A
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Peter Schey Flores Time [Opp to Docket #435]
Date         Hours        Mins         Task
                                       Review and research authorities cited in Defs' Ex Parte
    6/22/18             5          30 Application toModify Settlement

                                       Continue review and research authorities cited in Defs' Ex Parte
    6/23/18             3            0 Application toModify Settlement and studies/reports re influx
                                       Review studies/apprehension reports/declarations re Defs'app
    6/24/18             4            0 to modify settlement
                                       Draftex parte applic forextensionn oftimetofileopposition to ex
    6/26/18             0           15 parte applic tomodify settlement
                                         DraftOppto Defs ex parte applic tomodify settlement
                                         (Overview of relevant provisions of the Flores Agreement;
                                         Defendants’ procedural errors should result in denial of their Ex
    6/28/18             7           30   Parte application; Standard to modify)
                                         Draft Defendants offer no new grounds in support of
    6/28/18             5           10   modification of the Agreement;review Holly Cooper edits
                                         Review Kate Manning and Virginia Corrigan edits of draft
    6/29/18             2           10   opposition to Defs applic tomodify settlement
                                         Further research and drafting Plaintiffs'opposition to Defs' ex
    6/29/18             7           50   parte application tomiodify settlement
    6/30/18             0           40   Review Defendants'Notice of Complaince
    5/28/19             2           30   Prepare declaration and review/edit motion for fees




                       39
Enhanced
rate                $950
                 $36,654




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                             Exhibit 1-B
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                             PETER A. SCHEY RESUME

  This resume should not be used in any legal proceeding without contacting
  Peter A. Schey to determine whether information contained in this document
  requires updating.

  ------------------------------------------------------------------------

  PERSONAL:

  Place of Birth: Durban, South Africa

  Telephone: (323) 251-3223
  Facsimile: (310) 526-6537
  E-mail: pschey@centerforhumanrights.org
  The State Bar of California: Active # 58232

  Websites:      www.centerforhumanrights.org
                 www.casalibrela.org
                 www.vocesunidas.org
                 www.tents4homeless.org

  Facebook: www.facebook.com/center4humanrights
  ------------------------------------------------------------------------

  EDUCATION:

  Lowell High School, San Francisco, CA
  Graduated (honors) - June, 1964

  University of California, Berkeley, CA
  Graduated (honors) - June, 1969
  Bachelor of Arts in Psychology

  California Western School of Law
  San Diego, CA Juris Doctor (honors), June, 1973
  Outstanding Service Award, March 2, 1972;
  California Western Law Review, 1971-72.

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  EMPLOYMENT HISTORY:

  LAW OFFICES OF PETER A. SCHEY

  Part-time private practice of law principally focusing on complex
  constitutional, transnational, criminal, immigration, and appellate litigation.

  UNIVERSITY OF SOUTHERN CALIFORNIA, LAW CENTER

  Adjunct Professor, University of Southern California Law Center, teaching
  courses on international human rights and immigration law (1987-1991).

  UNIVERSITY OF CALIFORNIA (LOS ANGELES) SCHOOL OF LAW

  Lecturer of Law, University of California School of Law teaching
  immigration and refugee law (Spring, 1989).

  SOUTHWESTERN UNIVERSITY SCHOOL OF LAW (LOS ANGELES)

  Adjunct Professor, University of Southern California Law Center, teaching
  courses on international human rights and administrative law

  LEGAL AID SOCIETY OF SAN DIEGO 1973-1978:

  Established the first legal aid unit to provide representation for low-income
  immigrants in the Southern California area and initiated first class action
  cases on behalf of immigrants.

  NATIONAL CENTER FOR IMMIGRANTS RIGHTS 1978-1980:

  Founded and served as Executive Director of the first national support center
  dedicated to the protection and promotion of the legal rights of immigrants.
  The program continues to function today as the National Immigration Law
  Center (NILC).

  CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW
  FOUNDATION

  1980 – present: Founder and Executive Director of the Center for Human
  Rights and Constitutional Law Foundation (CHRCL Foundation). The


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  Center is dedicated to the protection and promotion of fundamental civil
  liberties and human rights through major class action litigation, education,
  legal training and the presentation of petitions before international fora. The
  Center serves as a resource to social, legal, religious and community-based
  groups throughout the United States involved in civil and human rights
  advocacy.

  CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW, INC.

  1997-present: Founder and Executive Director of the Center for Human
  Rights and Constitutional Law, Inc. (CHRCL Inc.), program that provides
  emergency services, including shelter, food, counseling, health, and
  educational services to unaccompanied homeless immigrant and refugee
  youth. Most of the youth served are from Mexico and Central America. See
  www.casa-libre.org

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  LITIGATION EXPERIENCE:

  Served as lead counsel or co-counsel in over 100 major civil rights and class
  action cases in federal courts throughout the United States involving access
  to education, health and welfare benefits, administrative law, the rights of
  immigrants, refugees and indigenous people, and complex individual cases
  involving constitutional, criminal, transnational, and corporate issues.
  Represented or supervised the representation of over 2,000 cases in a nation-
  wide project involving women who have suffered sexual harassment, abuse,
  or discrimination. Litigation against the federal government has resulted in
  the largest attorney fee awards in the country.

  (1) In re Alien Children Education Litigation, Doe v. Plyler, 457 U.S. 202,
  102 S.Ct. 2382, 95 L.Ed.2d 786 (1982) (U.S. Supreme Court) (lead counsel
  in State-wide class action case finding unconstitutional as a violation of
  Fourteenth Amendment equal protection a Texas statute which denied public
  education to undocumented children; over 100,000 children admitted to
  Texas public schools annually as a result of United States District Court
  injunction affirmed by United States Supreme Court decision);

  (2) Enrique Fuenes v. City of Riverside (U.S. District Court, Central District
  of California) (lead counsel in lawsuit for damages following video-taped


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  beating of Mexican national Mr. Fuenes by Riverside Sheriffs; Mr, Fuenes, a
  Mexican national migrant, was being smuggled in a high-speed chase; case
  settled and Mr. Fuenes received an award of $700,000)

  (3) Jane Doe v. State of Hawaii, Cv. No. 97-00169 (U.S. District Court for
  the District of Hawaii) (lead counsel in personal injury and injunction
  lawsuit involving Hawaii state hospital rules for physician-patient relations
  and sexual assault by psychiatrist; confidential settlement reached for
  monetary damages for plaintiff and State of Hawaii changes in policies and
  practices involving psychiatrist-patient relations);

  (4) American Apparel LLC: Legal counsel for American Apparel and CEO
  Dov Charney on range of cases including EEOC conciliation to achieve
  model sexual harassment policy, EEOC conciliation to achieve model ADA
  policy, litigation of individual cases, Immigration and Customs Enforcement
  (ICE) I-9 audit, public relations, and corporate social responsibility issues.

  (5) Directing attorney of Voces Unidas Project, a nationwide project
  involving representation of over 2,000 women victims of sexual harassment,
  abuse, or discrimination.

  (6) Thompson v. United States, Cv. No. 83-0903 (D. Hawaii) (civil action on
  behalf of prominent Hawaii lawyer resulting in broad injunction limiting
  manner in which Department of Justice criminal investigation could proceed
  against attorney target of criminal investigation);

  (7) Native American Heritage Commission v. Cal State Long Beach, No. BC
  097212 (Los Angeles Superior Court) (lead counsel in State court lawsuit
  seeking to halt effort by California State University at Long Beach to build a
  shopping center over a historic Native American burial ground; preliminary
  injunction halted development plan);

  (8) California Medical Board v. Robbins (California Court of Appeals) (lead
  counsel in successful appeal and reversal of revocation of medical license of
  prominent surgeon in case involving turf battle with plastic surgeons
  resulting in unjustified charges; all charges dismissed and decision to revoke
  surgeon’s license reversed by the California Court of Appeals)

  (9) League of United Latin American Citizens, et al. v. Pete Wilson, et al.,
  No. Cv. 94-7569-MRP (C.D. Cal.), LULAC v. Wilson, 908 F.Supp. 755


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  (C.D. Cal. 1995) (lead counsel in California-wide class action case
  representing numerous elected officials and approximately one million
  families challenging the constitutionality of Proposition 187, a State-wide
  initiative denying health care, social services and education to wide classes
  of California immigrant residents; law declared unconstitutional in federal
  court decisions in 1995 and 1997);
  (10) People of the State of California v. Tariacuri Ramirez, Superior Court,
  Riverside County (counsel in obtaining full dismissal of first degree murder
  charge unjustly brought against the 17-year old defendant).

  (11) Development Disabilities Area Board 10 v. Smith, Cv. No. 500440 (Los
  Angeles Superior Court) (lead counsel in state-wide class action leading to
  class-wide settlement allowing indigent children access to health care
  services);

  (12) Lopez v. INS, Cv. No. 78-1912-WB(xJ) (lead counsel in certified
  nation-wide class action case involving the right to legal counsel of persons
  arrested by INS; nation-wide settlement impacting over 1 million class
  members per year reached requiring immigrants arrested by federal
  authorities to be provided written advisal of their legal rights and a period of
  time to consult with attorneys before post-arrest interrogation);

  (13) Charo v. United States, U.S. Ninth Circuit Court of Appeals, No. 95-
  70574 (decided Feb, 20, 1997) (lead counsel for entertainer Charo in
  successful litigation for attorneys' fees following dismissal of employer
  sanctions charges brought by the United States Government against Charo's
  corporation in Hawaii).

  (14) Master Yungao Yi (aka Wan-Ko Yee) (Lead counsel for Master
  Yungao Yi, internationally renowned Buddhist leader and citizen of China
  now living in the United States in successful representation to have
  INTERPOL arrest warrant based on pending politically motivated criminal
  charges in China rescinded and cancelled);

  (15) United States v. Dr. Marcel Diennet, No. 90-202636 (U.S. District
  Court for the Western District of Tennessee) (favorable settlement of major
  multi-district federal criminal case involving alleged importation of
  scheduled drugs without proper import licenses by prominent French
  national physician);



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  (16) Baliza v. INS, 709 F.2d 1231 (9th Cir. 1982) (lead counsel in federal
  Court of Appeals precedent case reversing federal agency's use of
  unauthenticated documents in contested administrative proceedings when
  maker of document is not made available by agency for cross-examination);

  (17) Moreno v. United States, Cv. No. 87-01431-TJH (C.D. Cal.), (lead
  counsel in settlement of Federal Tort Claim Act and Bivens action for
  wrongful arrest and deportation of a minor lawful resident by INS; child
  illegally deported by the INS awarded over $100,000 in damages);
  (18) American-Arab Anti-Discrimination Committee, et. Al., v. Anti-
  Defamation League of B’Nai B’rith, et al., No. Cv. 93-6358-RP (C.D. Cal.)
  (lead counsel in civil rights federal court case against the City and County of
  San Francisco and other defendants challenging illegal invations of privacy
  and surveillance of approximately 5,000 individual class members and 1,000
  organizations based solely on lawful First Amendment activities; final
  settlements required identification of thousands of pages of documents
  containing unlawful law enforcement information, redaction of documents
  from defendants' files, and injunctions regarding future policies and conduct;
  attorneys' fees awarded).

  (19) Catholic Social Services v. Meese, 113 S.Ct. 2485 (1993) (U.S.
  Supreme Court) (lead counsel in nation-wide class action case seeking
  legalization for 250,000 immigrants who briefly traveled abroad during one-
  time 1987-88 "amnesty" program and were therefore deemed ineligible to
  apply by Government; nation-wide injunction won permitted the filing of
  over 250,000 "late" amnesty applications after the statutory period expired;
  case settled by Department of Homeland Security following fifteen years of
  litigation);

  (20) Haitian Refugee Center v. Smith, 676 F.2d 1023 (1982) (U.S. Court of
  Appeals) (lead counsel in first major Florida class action case involving
  constitutional rights of Haitian refugees seeking political asylum in the
  United States; won permanent injunction reversing INS' denial of political
  asylum to over 5,000 Haitian refugees and prohibited their deportation from
  the United States to Haiti; federal legislation later granted class members
  permanent resident status);

  (21) Flores v. Meese, ___ U.S. ___ (U.S. Supreme Court 1993) (co-lead
  counsel in nationwide class action case challenging federal policies for
  apprehended children, including the conditions of detention; national


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  settlement reached with the U.S. Government addressing the conditions of
  detention, requiring the federal government to (i) end commingling of
  detained children with unrelated adults, (ii) provide education and reading
  materials and visitation with friends and relatives; (iii) requiring release of
  detained minors in certain circumstances to unrelated responsible adults);

  (22) Immigrant Assistance Project of the Los Angeles County Federation Of
  Labor (AFL-CIO) v. Immigration and Naturalization Service, 306 F.3d 842
  (9th Cir. 2002) (co-lead counsel in lawsuit challenging INS's denial of
  legalization to persons considered ineligible based on "known to
  government" statute; summary judgment won in favor of class of
  approximately 50,000 immigrants; INS appeal pending before the U.S.
  Court of Appeals);

  (23) Orantes-Hernandez v. Smith, 541 F.Supp. 351 (C.D. Cal. 1982) (co-
  lead counsel in nationwide class action case; won preliminary injunction
  covering about 30,000 Salvadorans fleeing the U.S.- sponsored war in their
  country regarding their right to seek and obtain political asylum in the
  United States, and their right to consult with lawyers);

  (24) Mendez v. INS, 563 F.2d 956 (1977) (lead counsel in federal Court of
  Appeals precedent case holding that when an immigrant's deportation by the
  INS was accomplished in violation of the due process guarantee of the U.S.
  Constitution, the immigrant must be allowed to return to the United States
  for further hearings);

  (25) Whetstone v. INS, 561 F.2d 1303 (1977) (lead counsel in federal Court
  of Appeals precedent case striking INS statutory interpretation of immigrant
  visa process);

  (26) Munoz v. Bell, Cv. No. 77-3765-WG (C.D. Cal. 1978) (lead counsel in
  major federal case resulting in court-ordered nation-wide settlement
  requiring the federal government to advise all persons in deportation
  proceedings of free legal services available to indigent immigrants);

  (27) Congressman R. Dellums v. Smith, Cv. No. 82-0040-G (S.D. Cal.
  1982) (lead counsel in class action resulting in injunction and settlement
  requiring the federal government to allow public access to administrative
  hearings at detention facilities);



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  (28) Aviles-Torres v. INS, 790 F.2d 1433 (1986) (lead counsel in federal
  Court of Appeals case reversing Immigration Judge's denial of political
  asylum; interpretation of federal asylum and withholding statute)

  (29) United States v. Phra Winai (lead counsel in federal criminal and
  political asylum case involving high-profile Buddhist monk from Thailand;
  federal criminal case favorably resolved through settlement and political
  asylum granted avoiding extradition to Thailand where monk faced religious
  persecution).




  INTERNATIONAL WORK (PARTIAL LISTING):

  (1) South Africa Constitution Watch Commission (1990-1994)

  Founder and coordinator of an international commission to report on the
  constitutional positions of major parties in South Africa as evaluated under
  international human rights law. Commission included over 40 prominent
  jurists and political leaders, including former Costa Rican President Oscar
  Arias and former U.S. President Jimmy Carter.

  (2) Haitian Interdiction Petition (Sept. 1990-98)

  Lead counsel in successful human rights petition before the Inter-American
  Commission on Human Rights of the Organization of American States
  (OAS) challenging the U.S. Government's program of interdicting and
  returning Haitian refugee boatpeople without regard to their right to life, due
  process, to depart their country, and to seek asylum. Petition resulted in
  lengthy decision finding United States Government in violation of several
  binding international instruments; Commission's final decision was adopted
  by the General Assembly of the Organization of American States.

  (3) Stecel 11 Case.

  Represented 11 leading trade unionists, longest held political prisoners in El
  Salvador during U.S.-backed war; petition filed with the Inter-American
  Commission on Human Rights of the OAS; release of prisoners negotiated
  and safe passage to Amsterdam obtained.


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  (4) Dennis Quintanillia--Kidnapped Child.

  Negotiated release of U.S. citizen child kidnapped by Salvadoran National
  Guard after assassination of mother in El Salvador (New York Times, Feb.
  20, 1983, p. 1).

  (5) Legal counsel to President Bertrand Aristide of Haiti.

  Following his exile by military coup. successful entry into the United States
  following exile by coup; assisted in negotiations with U.S. Government for
  return to power; accompanied President Aristide when returned to Haiti.


  OTHER ACTIVITIES:

  (1) Founder and director of Voces Unidas, a nation-wide project undertaken
  in 2005 with the goal of identifying and representing low-income women
  and children victims of sexual harassment, abuse and discrimination and
  provide no cost legal representation.

  (2) Founder and director of "Safe Haven" and "Freedom House" ("Casa
  Libre") group homes for unaccompanied immigrant and refugee children;
  acquired $2 million funding to purchase and operate shelter facilities to
  provide youth with temporary housing, family reunification services, legal
  services, medical care, mental health counseling, etc. (www.casa-libre.org)


  EDITORIAL SERVICE (for dates of service contact Peter Schey):

  Migration Today
  Board of Editors of the Immigration Law and Procedure Reporter (Matthew
  Bender),
  Editorial Board, Immigration and Nationality Law Review (Clark
  Boardman),
  Advisory Board, Migration World Magazine (Center for Migration Studies).


  BAR ASSOCIATION AND COMMUNITY SERVICE:



                                                                                  18
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  President of the Board, El Rescate (2004-2006), Board member 2006-
  present.
  Board member, People’s College of Law (2006-2009).
  President of Community Media Project (1993-1998).
  Vice-Chairperson of the Individual Rights Section of the Los Angeles
  County Bar Association (1986, 1990, 1992, 1994).
  General Counsel to the United California Mexican-American Association
  (1981-present).
  Board member Hermandad Mexicana Nacional (1988-1994).
  National Advisory Board Member, the National Asylum Appeals Project of
  the Lawyers Committee for Civil Rights (1986-1992).
  Board member The Resource Center (New Mexico) (1984-1986, 1990-
  1998);
  Board member CRISPAZ (Texas) (1986-87);
  Advisory Board, Bhopal Justice Campaign (1989-1993)
  Advisory Board, Guatemala Information Center (1989-1990).
  National Advisory Board, Guatemala Support Network (1992- present).
  Board member National Coalition for the Rights of Immigrants and
  Refugees (1990-1999).
  Executive Committee of the Immigration Section of the Los Angeles County
  Bar Association (1986).
  General Counsel to the Coalition for Humane Immigration Reform of Los
  Angeles (CHIRLA) (1987-88).
  Executive Committee, National Lawyers Guild Los Angeles Chapter (1988-
  1998).
  Chair, International Action Committee of the National Lawyers Guild
  (1995-2000).


  TREATISE:

  (1) Immigration Law and Procedure, chapter on political asylum (8- volume
  treatise on immigration and refugee law published by Mathew Bender)

  (2) Immigration Law & Crimes,, major contributor (published by Clark
  Boardman publishing company, 1984)


  AWARDS:



                                                                              19
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  2010 Loyola Marymount University recipient Intercultural Dialogue Person
  of the Year Award

  1996 County of Los Angeles and League of United Latin-American Citizens
  commendation for dedicated service to the affairs of the Latino community
  in the U.S.

  1988 Carol King Award for efforts "to secure justice for Salvadoran asylum
  seekers" ID 1986 Commendation for Pro Bono Services by State Bar of
  California

  1985 Jack Wasserman Memorial Award by American Immigration Lawyers
  Association for "excellence in litigation" on behalf of immigrants

  1980 Clarence Darrow Foundation Award for civil rights litigation

  1980 Award for Outstanding Service to Hispanic Community by United
  California Mexican American Association
  PROFILES:

  * New Times of Los Angeles (June 20, 2002)
  * National Law Journal, Vol. 9, # 26 (March 1987)
  * Los Angeles Times, Deja Vu for Rights Attorney (Nov. 10, 1994)


  PARTIAL LISTING OF CLIENTS SUCCESSFULLY REPRESENTED IN
  U.S. COURTS AND/OR INTERNATIONAL LAW PETITIONS:

  U.S. Representative Xavier Becerra
  U.S. Representative Ron Dellums
  California Senate Majority Leader Richard Polanco
  Chinese American Citizens Alliance (Washington, DC)
  United Farm Workers of America (AFL-CIO) (California)
  National Council of Churches (New York)
  United Methodist Church (Washington, DC)
  League of United Latin American Citizens (LULAC)
  American G.I. Forum (Dallas, Texas)
  American Apparel, Inc.
  Dov Charney, Founder and CEO of American Apparel
  Micro Solutions Enterprises (MSE)


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  International Commission for the Defense of Salvadoran Refugees (San
  Salvador)
  Gerardo Hernandez (Cuba Five)
  Clergy and Laity Concerned (Washington, DC)
  Lutheran Council in the U.S.A. (Washington, DC)
  International Tribal Council (San Francisco, Ca.)
  Guatemala Support Network (Washington, DC)
  Global Exchange (San Francisco, Ca.)
  California Catholic Conference (Sacramento, Ca.)
  Southern California Ecumenical Council (Los Angeles, Ca.)
  Arizona Farm Workers Union (Arizona)
  California Native American Heritage Commission (Sacramento, Ca.)
  International Commission for the Defense of Salvadoran Refugees (San
  Salvador) Comisión Mexicana de Defensa y Promoción de Los Derechos
  Humanos, A.C. (Mexico)
  Central American Refugee Center (Washington, D.C.)
  ACLU Foundation of S. California (Los Angeles, CA)
  Center for Constitutional Rights (New York)
  American Friends Service Committee (AFSC) (Philadelphia, Pa.)
  National Farm Worker Ministries Washington, DC
  Washington Office on Haiti (Washington, DC)
  Haitian Center for Human Rights (Port-au-Prince, Haiti)
  Palestine Aid Society (New York)
  National Coalition for Haitian Refugees (New York)
  Haitian Refugee Center (Miami, Fla.)
  United California Mexican American Association (San Diego, Ca.)
  Arab-American Anti-Discrimination Committee (Washington, DC)
  Committee in Solidarity with the People of El Salvador (Washington, DC)
  National Association of Arab Americans (Washington, DC)
  Association of Arab-American University Graduates, Inc.
  Bay Area Anti-Apartheid Network (San Francisco, CA)
  International Jewish Peace Union
  National Conference of Black Lawyers (New York)
  American Indian Movement (Colorado)
  National Lawyers Guild (New York)
  Coalition Against Police Abuse (Los Angeles, CA)
  Palestine Solidarity Committee (New York)
  Association for Residency and Citizenship of America Academia Mexicana
  de Derechos Humanos, A.C. (Mexico)



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                               Exhibit 2
                                                                           22
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                                  #:26517




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                                  #:26518




                            Exhibit 2-A
                                                                           24
   Case 2:85-cv-04544-DMG-AGR Document 545-1 Filed 05/28/19 Page 28 of 144 Page ID
                                     #:26519
                                              VIRGINIA CORRIGAN
                  535 41st St. Apt. 2, Oakland, CA 94609  (248) 840-8981  vircorri@gmail.com

                                          PROFESSIONAL EXPERIENCE
Youth Law Center, San Francisco, CA                                                                         2015-Current
Staff Attorney
Litigation: Act as of counsel for plaintiff class in Flores v. Whitaker settlement enforcement litigation. Draft motions
to enforce in the Central District of California and briefs on appeal to the Ninth Circuit; develop oral argument; in
settlement negotiations; interview clients and draft declarations; conduct monitoring and fact-finding inspections.
Draft and coordinate amicus briefs on issues affecting youth in foster care in California and Michigan state courts.
Regulatory, Legislative, and Policy Advocacy: Draft comments on proposed state and federal regulation and agency
guidance on a wide range of issues, including Title 15 regulations and licensing standards for group care facilities.
Draft and sponsor successful legislation on juvenile justice and foster care issues. Research and draft policy briefs on
issues including extended foster care, extracurricular participation for systems-involved youth.
Coalition Work: Lead statewide coalition to eliminate the use of chemical agents in juvenile facilities. Participate in
multiple state and national workgroups on foster care and juvenile justice issues. Developed collaboration with Santa
Clara Probation, judiciary, and other stakeholders to improve services for transition-aged youth.
Training: Supervise interns and fellows. Provide training on foster care and juvenile justice issues to judges, attorneys,
court staff, probation and child welfare agencies, California community college support program staff, and researchers.
Youth Law Center/Contra Costa Public Defender, San Francisco/Martinez, CA,                                       2013-2015
Equal Justice Works Fellow
Represented Public Defender clients involved in extended foster care before Contra Costa Juvenile Court during
approximately 150 hearings, including periodic reviews, probation violations, and immigration-related requests.
Represented clients in two bench trials. Briefed multiple novel legal issues, including eligibility for special immigrant
juvenile status and extended foster care. Drafted complaint to U.S. Department of Justice regarding use of pepper
spray in San Diego juvenile detention facilities. Created and ran pro bono juvenile record sealing clinic.
United States District Court, Eastern District of Michigan, Detroit, MI                                2011-2013
Law Clerk for Judge David M. Lawson
Researched and wrote bench memos. Drafted memos and reviewed draft opinions for sittings on the Sixth Circuit.
Cleary Gottlieb Steen & Hamilton, New York, NY and London, England                                 Summer 2010
Summer Associate
Researched domestic violence-based asylum claims. Drafted SEC disclosure language and board resolutions.
U.S. Attorney’s Office, Boston, MA                                                                           Fall 2009
Clinical Intern, Organized Crime Division.
Wrote motion for summary disposition of appeal in First Circuit, immunity request, trial brief, voir dire, prosecution
memo, and detention affidavit. Prepared training for U.S. Marshal Service on entry requirements.
                                        EDUCATION AND FELLOWSHIPS
Harvard Law School, Cambridge, MA, Juris Doctorate                                                     May 2011
Honors: Graduated cum laude
Activities: Managing Editor, Harvard International Law Journal; Harvard International Human Rights Clinic
University of Michigan, Ann Arbor, MI, Bachelor of Arts in Spanish and English                                 May 2007
Honors: Graduated with Highest Honors and Honors in English; 8-Semester James B. Angell Scholar
Stanford Law School, Palo Alto, CA, Public Interest Leadership Pipeline and Sustainability Program            2018-2019
Fulbright English Teaching Assistant, Merida, Venezuela                                                       2007-2008
                                                      PERSONAL
Language: Fluent in Spanish
Bar Admissions: California (2013), New York (2012)

                                                                                                                 25
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                             Exhibit 2-B
                                                                           26
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                                                          #:26521


                                                      Flores Defendants' Ex Parte Application for Relief



                                  Activity Date                                                  Memo/Description                                                   Duration
Ms. Virginia Corrigan
                                  6/21/18         review memorandum in support of motion for limited relief, draft internal memorandum summarizing and discussing        1.5
                                  6/22/18         Flores co-counsel conference call to discuss response to ex parte motion for relief                                    1.5
                                  6/25/18         call with Peter Schedy to discuss strategy and drafting response to motion for relief                                    1
                                  6/25/18         review draft memo in response to motion for relief                                                                     0.5
                                  6/25/18         internal YLC brainstorm on how to frame arguments in response to motion for relief                                       1
                                  6/25/18         research on asylum process for motion for relief response                                                                1
                                  6/27/18         call with Peter Schey to discuss Dilly visit and response to motion for relief                                        0.75
                                  6/29/18         review and edit draft memo in response to motion for relief                                                              1
                                  7/3/19          read amicus briefs in opposition to motion for relief                                                                 0.75
Total for Ms. Virginia Corrigan
                                                                                                                                                                             9




                                                                                                                                                                        27
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                               Exhibit 3
                                                                           28
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                                  DECLARATION OF RACHEL LEACH


 I, Rachel Leach, declare and say as follows:

        1. I was one of the attorneys representing plaintiffs in this action. I was employed by and

 served as staff attorney of the Center for Human Rights and Constitutional Law (CHRCL), a non-

 profit, public interest law firm that provides free legal representation to indigent immigrants and

 refugees. I execute this declaration in support of plaintiffs' motion for an award of attorney's fees

 pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d). A true and correct copy of my

 resume detailing my experience and qualifications is included as Exhibit A to this declaration.

        2. I graduated from the George Washington University Law School in May 2016 and was

 then admitted to the District of Columbia Bar in July of 2017. I have worked as a staff attorney at

 CHRCL from January 2018 to present.

        3. Since 1984 CHRCL’s practice has focused on litigation, advocacy and technical

 support in furtherance of the rights of immigrants and refugees. As regards legal support services,

 the California Legal Services Trust Fund has funded CHRCL since 1982 to provide technical

 support and training to qualified legal services programs and attorneys serving pro bono publico in

 the areas of immigration law, constitutional law, and impact litigation. In my capacity as CHRCL’s

 staff attorney, I regularly provided technical support, advocacy support, and training to legal aid

 and pro bono lawyers on immigration law and policy.

        4. Throughout this litigation, I maintained records of time I worked on this case. Exhibit

 B to this declaration sets forth an itemization of this time. I have exercised billing judgment in

 preparing the attached time records. I have not recorded numerous short discussions and meetings

 with Carlos Holguin or Peter Schey involving the Flores litigation on almost a daily basis. Nor

 have I recorded numerous short telephone conversations and emails, with consultants and pro bono

 attorneys involving the appeal of Defendants’ Ex Parte Application for Limited Relief from the

 Settlement Agreement.



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                                  #:26525




                            Exhibit 3-A
                                                                           31
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                                  #:26526


                                  Flores v. Sessions
                              Time Records for Rachel Leach

  Date:      Task:                Notes:                              Hours:
  06/22/18   Flores v. Sessions   Drafting Proposed Order             .25
  06/25/18   Flores v. Sessions   Excerpting Flores Orders            .75
  06/25/18   Flores v. Sessions   Phone call/emails with co-counsel   1
  06/26/18   Flores v. Sessions   Research on Influx & Data           3.5
  06/29/18   Flores v. Sessions   Consolidating Edits on Oppo.        2
  05/22/19   Flores v. Barr       Drafting EAJA Motions               7
  05/23/19   Flores v. Barr       Drafting Decs for EAJA Motion       1
                                                       Total: 15.5




                                                                               32
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                                  #:26527




                             Exhibit 3-B
                                                                           33
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                                      #:26528
                                                   Rachel Leach
            3142 Green Canyon Rd., Fallbrook, California 92028 · (480) 639 - 7853 · rleach270@gmail.com

                                                       Education
The George Washington University Law School                                                       Washington, D.C.
J.D. 2016                                                                                                   May 2016
Activities: The Domestic Violence Project (Clinical Course), WomensLaw (trained volunteer for domestic violence email
            hotline), Law Students for Reproductive Justice, Feminist Forum

Arizona State University, School of Politics and Global Studies                                            Tempe, AZ
B.S. summa cum laude, in Political Science and minor in Religious Studies                                   May 2013
Honors & Activities: CLAS (College of Liberal Arts and Sciences) Dean’s List, Golden Key International Honour
                     Society (2010 Inductee and Internal Relations Board Member), The National Society for Collegiate
                     Scholars, Provost Scholarship (four-year, full-tuition award), Alumnae of Alpha Gamma Delta

                                                    Admissions
District of Columbia Bar, Admitted July 2017

                                                    Experience

The Louis D. Brandeis Center for Human Rights Under Law                                             Washington, D.C.
Legal Fellow                                                 August 2016- December 2016, March 2017- October 2017
   • Analyzed and wrote memoranda on proposed state and federal anti-Semitism Awareness legislation and drafted
       state anti-Semitism Awareness legislation.
   • Assisted with on-going litigation over the adoption of a BDS resolution by a non-profit organization.
   • Conducted research and prepared memoranda on the Higher Education Act and the Administration’s
       appropriation of Title VI funding.
   • Wrote press releases and editorial submissions for The Brandeis Center blog.

The D.C. Council, Office of At Large Councilmember Elissa Silverman                                 Washington, D.C.
Law Clerk                                                                                     January 2016- April 2016
   • Conducted research on issues of paid family leave, paid sick days, and the D.C. Public Sectors Workers’
       Compensation Program.
   • Prepared memorandum on the intersection of employment discrimination and domestic violence and on the
       practicality of offering free long-acting reversible contraception to low-income women.
   • Staffed Councilmember Silverman on various committee hearings.

The George Washington University Law School, Professor Laurie Kohn                                  Washington, D.C.
Legal Research Assistant                                                                        May 2015- August 2015
   • Conducted research on domestic violence, civil protection orders, and issues of civil and criminal contempt.
   • Edited legal citation format for submission to legal journals.

The Law Office of Irena Karpinski                                                                    Washington, D.C.
Legal Intern                                                                                   May 2015- August 2015
   • Prepared and maintained case files for immigration law and family law cases.
   • Assisted in writing and preparing drafts of complaints for custody and child support, parental visitation, and
        termination of parental rights.
   • Researched issues relating to obtaining immigrant visas.

D.C. Coalition Against Domestic Violence                                                            Washington, D.C.
Policy Intern                                                                                January 2015- May 2015
    • Conducted legal research and wrote a memorandum on the intersection of domestic violence and sexual assault.
    • Researched and wrote summaries on the legal implications of sexual assault.
    • Attended D.C. Council hearings and round tables and assisted policy attorneys in advocating for funding.
    • Coinciding Field Placement for Domestic Violence Project Clinical Course.
                                                                                                            34
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                               Exhibit 4
                                                                           35
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                                  #:26530



                            DECLARATION OF LAURA DIAMOND




 I, Laura Diamond, declare and say as follows:

        1. I am an attorney representing plaintiffs in this action. I am employed by and serve as

 staff attorney of the Center for Human Rights and Constitutional Law (CHRCL), a non-profit,

 public interest law firm that provides free legal representation to indigent immigrants and refugees,

 and class counsel in the instant matter.

        2. I execute this declaration in support of plaintiffs' motion for an award of attorney's fees

 pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d). A true and correct copy of my

 resume detailing my experience and qualifications is included as Exhibit A to this declaration.

        3. I graduated from UC Berkeley School of Law in May 1996 and was admitted to the

 California Bar in November of 1996. I have been a staff attorney with CHRCL since November

 2019. Previously, I was a civil rights litigator with Knauf Associates and Center for Law in the

 Public Interest, and a clerk for Hon. George H. King on the Central District of California.

        4. In my capacity as CHRCL’s staff attorney, I regularly provided technical support,

 advocacy support, and training to legal aid and pro bono lawyers on immigration law and policy.

        5. I maintained records of time I worked on this case. Exhibit B to this declaration sets

 forth an itemization of this time. I have exercised billing judgment in preparing the attached time

 records. My requested time incurred in the fee motion related to the July 9, 2018 order is limited to

 the fee motion itself. I have not recorded short discussions and meetings with Carlos Holguin or

 Peter Schey involving the Flores litigation on almost a daily basis. Nor have I recorded numerous

 short telephone conversations and emails, with consultants and pro bono attorneys involving the

 appeal of Defendants’ Ex Parte Application for Limited Relief from the Settlement Agreement.



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        6. The total time I believe compensable for my work related to plaintiffs’ opposition to

 Defendants’ Ex Parte Application for Limited Relief from the Settlement Agreement, is 6 hours,

 as reflected in the itemization attached as Exhibit B.



        I declare under penalty of perjury that the foregoing is true and correct. Executed this 28th

 day of May, 2019, at Los Angeles, California.




                                                    Laura Diamond
 ///




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                            Exhibit 4-A
                                                                           38
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                                  #:26533
                                        Laura Diamond
                                  15332 Antioch Street, # 510
                                  Pacific Palisades, CA 90272
                                          310-663-3816
                                 ldiamond@centerforhumanri
                                             ghts.org


  CAREER PROFILE

  Advocate for civil rights and social justice in every phase of my career, education, and public
  service, including 10 years as a public interest litigator and 10 years as a Board member of
  one of L.A.’s leading housing and homelessness agencies.

  LEGAL EXPERIENCE

  Center for Human Rights and Constitutional Law                            2018 - present
  Los Angeles, CA
  Staff Attorney

  ◼   Legal research and drafting briefs in furtherance of enforcement of Flores Agreement
      regarding treatment of detained immigrant minors.
  ◼   Represent minors and recently aged-out Unaccompanied Alien Children in Immigration
      Court proceedings.
  ◼   Prepare and present in-person trainings to Los Angeles public service attorneys:
      Recent Developments in Ninth Circuit Immigration Law (December 2018) and
      Representing Youth in Immigration Court (February 2019).
  ◼   Prepare Practice Advisories and webinars distributed nationwide.

  Knauf Associates                                                             2013 - 2018
  Santa Monica, CA
  Attorney

  ◼   Civil rights litigation on behalf of individuals with disabilities, including mobility
      impairments, deafness, autism spectrum disorder, learning disabilities, and mental illness.
      Experience in federal and state court, and arbitration.
  ◼   Implement every aspect of litigation, including initial client interviews; legal research;
      drafting complaints; conducting discovery; writing and arguing civil motions; and trial.
  ◼   Collaborate with legal resource centers to maximize the public impact of private litigation.
  ◼   Advise associate attorneys on all aspects of litigation, legal strategy and writing.

  Center for Law in the Public Interest                                           1997 - 2003
  Los Angeles, CA
  Staff Attorney

  ◼   Civil rights impact litigation, including educational equity, environmental justice, rights of
      foster youth and incarcerated youth, disability rights, and consumer rights; expertise in
      obtaining attorneys’ fees for public interest law firm. Experience in federal and state court,
      at trial and appellate levels.
  ◼   Conduct legal research on novel issues of law; draft complaints; research, write, and argue
      civil motions and appeals; draft and enforce consent decrees.
  ◼   Collaborate with non-profit law firms, including ACLU, MALDEF, Western Center on                 39
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     Law and Poverty, and Disability Rights Legal Center.

  United States District Court (Central District, CA)                            1996 – 1997
  Los Angeles, CA
  Law clerk

  Law clerk to Chief Judge, Hon. George H. King (ret.). Extensive experience in civil law and
  motion calendar.

  EDUCATION

  University of California, Berkeley, School of Law                              1993 - 1996

  J.D. 1996
  California Law Review, Women’s Law Journal, Berkeley Law Foundation.
  Internships: ACLU of Southern California; Legal Services for Children, San Francisco;
  National Center for Youth Law, San Francisco; O’Melveny & Myers, Los Angeles.

  University of Pennsylvania, Philadelphia, PA                                   1987 - 1991

  B.A., cum laude, 1991
  E. Digby Baltzell Award for Best Undergraduate Sociology Thesis
  Internships: Women’s Law Project, Philadelphia, PA; Office of Congressman Henry
  Waxman, Washington, D.C.

  PROFESSIONAL AFFILIATIONS

  Admitted to California Bar, 1996
  Admitted to practice in U.S. District Court, Central and Eastern Districts of California, Ninth
  Circuit Court of Appeals, and U.S. Supreme Court

  BOARD MEMBERSHIPS/COMMUNITY SERVICE

  PATH (People Assisting the Homeless), Board Member (2012 – present)
  Beyond Shelter, Board Member (2005 – 2012)
  Kehillat Israel, Board of Trustees, VP Social Justice & Tikkun Olam (2009 – 2015)
  Westside Food Bank, Turning Point Shelter, CLUE (volunteer)

  LANGUAGES

  Spanish

  PERSONAL

  Author (Shelter Us: a novel (2015); Deliver Me: True Confessions of Motherhood (2007).
  www.lauranicolediamond.com




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                             Exhibit 4-B
                                                                           41
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                                   Flores v. Sessions
                              Time Records for Laura Diamond

  Date:      Task:                 Notes:                                     Hours:

  5/22/19    Flores v. Sessions    Review EAJA fee motion;                    1.5
                                   Conf R.Leach re same

  5/22/19    Flores v. Barr        Prepare EAJA Exhibits                      1.0

  5/23/19    Flores v. Barr        Prepare Decs for EAJA Motion               1.5

  5/24/19    Flores v. Barr        Conf V.Corrigan re prep exhibits           1.0
                                   for fee motion; edit motion

  5/28/19    Flores v. Barr        Conf Carol Sobel re reasonable             1.0
                                   hourly rates, her declaration re same;
                                   Prepare exhibits to file with fee motion

                                                         Total:               6.0




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                               Exhibit 5
                                                                           43
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                                  #:26540




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                                  #:26543




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                                  #:26546




                                                                           52
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                                  #:26547




                                                                           53
Case 2:85-cv-04544-DMG-AGR Document 545-1 Filed 05/28/19 Page 57 of 144 Page ID
                                  #:26548




                                                                           54
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                                  #:26551


  CAROL A. SOBEL
  725 Arizona Avenue• Suite 300 • Santa Monica, CA 90401 •
  Tel. 310 393-3055 • Email carolsobellaw@gmail.com



  Employment:
             LAW OFFICE OF CAROL A. SOBEL                                                                    APRIL, 1997 TO      PRESENT
             Solo civil rights law firm.

             SENIOR STAFF COUNSEL                                                                                1990 TO APRIL, 1997
             ACLU Foundation of Southern California

             Responsible for conducting civil rights and civil liberties litigation in state and federal courts in California;
             supervise litigation by ACLU volunteer counsel and other ACLU legal staff.

             STAFF ATTORNEY                                                                                             1 985 TO 1990
             ACLU Foundation of Southern Califonria

             Civil liberties litigation, primarily in the areas of Establishment Clause and Free Exercise violations, as well as other
             First Amendment rights.

             ASSOCIATE DIRECTOR                                                                                         1 979 TO 1985
             ACLU Foundation of Southern California
             American Civil Liberties Union of Southern California

             Under the direction of the Executive Director, responsible for administration of two non-profit organizations,
             including working with Boards of Directors on development of policy on civil liberties issues. Engaged in litigation
             and assisted Legal Director in coordination and supervision of pro bono attorneys.

             DEVELOPMENT DIRECTOR                                                                                       1 977 TO 1979
             ACLU Foundation of Southern California
             American Civil Liberties Union of Southern California

             Responsible for conducting a variety of fundraising efforts to meet a million-dollar plus annual budget for a
             501(c)(3) and a 501(c)(4).




  Admitted to Practice:
             California Supreme Court                                                                                No vember, 1978

             United States Supreme Court                                                                             Sep tember, 1991

             Ninth Circuit Court of Appeals                                                                              A ugust, 1986

             U.S.D.C. Central District of California                                                                   February, 1986

             U.S.D.C. Eastern District of California                                                                        June, 1990


  Litigation Experience:

   Federal courts: (Partial listing of published opinions and significant cases)

                    CPR for SKID ROW,
                    779 F.3d 1098 (9th Cir. 2015)
                    Partial reversal of summary judgment in favor of the Defendant and holding that California Penal Code §403
                    could not lawfully be applied to criminalize the expressive activity of the Plaintiffs for protesting on Skid
                    Row.
                    (Lead counsel and argued on appeal)


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              Desertrain v. City of Los Angeles
              754 F.3d 1114 (9th Cir. 2014)
              Reversal of summary judgment in favor of the Defendants and holding that Los Angeles Municipal Code
              §85.02, prohibiting parking a vehicle on public streets or parking lots any time of day or night if a person
              “lives” in the vehicle, is unconstitutionally vague.
              (Lead counsel and argued on appeal)

              Lavan v. City of Los Angeles
              693 F.3d 1022 (9th Cir. 2012), affirming grant of preliminary injunction 797 F.Supp.2d 1005 (C.D. Cal.
              2011)
              Preliminary injunction barring City from confiscating and immediately destroying the property of homeless
              individuals on Los Angeles’ Skid Row.
              (Lead Counsel)

              Long Beach Area Peace Network v. City of Long Beach
              522 F.3d 1010 (9th Cir. 2008), as amended July 24, 2009
              Upholding and reversing in part on appeal a decision of the district court granting Plaintiffs’ request for a
              preliminary injunction to enjoin a municipal parade ordinance that included vague permit standards setting, inter
              alia, advance-notice requirements police charges based on the past unlawful conduct of third parties without
              adequate standards to limit the discretion of public officials charged with implementing the parade ordinance.
              (Lead counsel)

              Fitzgerald v. City of Los Angeles
              485 F.Supp.2d 1137 (CD CA 2008)
              Extending injunction against police sweeps of homeless persons on Los Angeles’ Skid Row on the grounds of
              searching for parole and probation violations. See below for discussion of permanent injunction in 2003.
              (Co-Counsel)

              Multi-Ethnic Immigrant Worker Organizing Network (MIWON) v. City of Los Angeles
              246 F.R.D. 621 (C.D. Cal. 2007)
              Order granting class certification in challenge to police assault on a lawful assembly of immigrant rights
              supporters by the Los Angeles Police Department on May Day, 2007.
              (Class Co-Counsel)

              Edward Jones, et al., v. City of Los Angeles,
              444 F.3d 1118 (9th Cir. 2006), vacated pursuant to settlement 505 F.3d 1006 (2007)
              Challenge to City of Los Angeles Municipal Code §41.18(d), prohibiting sitting, lying or sleeping on any street
              or sidewalk anywhere in the City at any time of day or night. Plaintiffs, all of whom are homeless persons,
              brought an 8th Amendment as-applied challenge to their arrests and citations for violating the ordinance when
              their was no available adequate shelter.
              (Co-counsel)

              Terry Tipton-Whittingham, et al. v. City of Los Angeles
              316 F.3d 1059 (9thCir. 2003)
              Challenge by City of Los Angeles to interim fee award granting plaintiffs’ fees as “catalysts” under state civil
              rights fee shifting statutes. Following oral argument, the Ninth Circuit certified issue of continued availability
              of “catalyst” fees under California law after adverse decision by the United States Supreme Court rejecting
              catalyst fee doctrine under federal law absent express legislative authorization. Certified for hearing before the
              California Supreme Court and ultimately upheld the catalyst fee doctrine under California law.
              (Co-counsel; argued in Ninth Circuit)

              Fitzgerald v. City of Los Angeles
              2003 U.S. Dist. LEXIS 27382 (CD CA 2003)
              Permanent injunction enjoining Fourth Amendment violations by the Los Angeles Police Department (LAPD).
              The injunction prevents the LAPD from engaging in stops of homeless persons for parole and probation sweeps
              on Skid Row without reasonable suspicion to believe that specific individuals are on parole or probation and
              subject to a search condition, or that the individual has engaged in, or is about to commit a crime.
              (Lead counsel)

              Khademi v. South Orange County Community College District
              194 F.Supp.2d 1011 (C.D. CA 2002)
              First Amendment facial challenge invalidating college policy regulating time, place and manner of student
              speech on campus.
              (Lead counsel)

              Mardi Gras of San Luis Obispo v. City of San Luis Obispo
              189 F. Supp.2d 1018 (C.D. Cal. 2002)
              Preliminary injunction to enjoin a municipal parade ordinance that required lengthy advance-notice requirement
              and permitted high insurance and police charges based on the past unlawful conduct of third parties without
              adequate standards to limit the discretion of public officials charged with implementing the parade ordinance.



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              Bauer v. Sampson
              261 F.3d 775 (9th Cir. 2001)
              First Amendment challenge to disciplinary action against college professor for publication of an alternative
              newsletter criticizing elected and appointed public officials and disclosing wrongdoing by college officials and
              personnel. The college sought to discipline the professor for violating the district’s policies on discrimination
              and work-place violence. The polices were declared unconstitutional as applied to the professor’s speech.

              H.C. v. Koppel
              203 F.3d 610 (9th Cir. 2000)
              Dismissal of federal civil rights action filed in federal court against state court judge and appointed counsel for
              minor in family law matter. Circuit held that Younger Abstention applied and non-custodial parent had adequate
              state court remedy.

              Justin v. City of Los Angeles
              2000 U.S. Dist. LEXIS (CD Cal. 2000)
              Class action to enjoin police sweeps of homeless population on Los Angeles’ Skid Row. Permanent injunction
              stipulated to in settlement following certification of the injunctive relief class.
              (Lead counsel)

              Los Angeles Alliance for Survival, et al. v. City of Los Angeles
              987 F. Supp. 819 (1997); 157 F.3d 1162 (9th Cir. 1998); on certification to the California Supreme Court, 22
              Cal.4th 352 (2000); 224 F.3d 1076 (9th Cir. 2000)
              Injunction issued in challenge to municipal ordinance barring so-called “aggressive solicitation” in broad areas
              of traditional public fora. Preliminary injunction entered by district court based on California Constitution. On
              appeal, the Ninth Circuit certified the California Constitution question to the California Supreme Court.
              Following decision by the California Supreme Court, the Ninth Circuit upheld the original injunction.
              (Co-counsel)

              Service Employees International Union 660 v. City of Los Angeles
              114 F. Supp.2d 966 (C.D. Cal. 2000)
              Challenge to the “no-protest zone” at the Democratic National Convention in Los Angeles in 2000, as well as
              a preliminary injunction to enjoin the City of Los Angeles parade ordinance.
              (Co-counsel)

              United States v. Wunsch
              54 F.3d 579 (9th Cir. 1995);84 F.3d 1110 (9th Cir. 1996) (reargument)
              First Amendment challenge to discipline of male attorney for “gender bias” in sending note to female Asst. U.S.
              Attorney after she successfully moved to disqualify him as defense counsel in a criminal case. Ninth Circuit
              invalidated the penalty and declared unconstitutional California’s “offensive personality” regulation on attorneys’
              professional conduct. (Argued and briefed on appeal).

              American Jewish Congress v. City of Beverly Hills
              65 F.3d 1539 (9th Cir. 1995);90 F.3d 379 (9th Cir. 1996) (en banc)
              First Amendment challenge to display of a religious symbol on public property and to permit scheme for
              expressive activities in public fora in the City of Beverly Hills. The en banc panel held the permit scheme
              unconstitutional and found that a preference had occurred for the display of a particular religious symbol. The
              en banc decision was unanimous. (Argued and briefed on appeal)

              Baca v. Moreno Valley Unified School District
              936 F. Supp. 719 (C.D. Cal. 1996)
              First Amendment challenge to school board regulations preventing speakers from making disparaging remarks
              about public employees during public board meetings.

              Wallin v. City of Los Angeles,
              1194 U.S. App. LEXIS 2343 (9th Cir. 2004)

              Circuit dismissed appeal of defendant City and law enforcement officers from denial of qualified immunity.
              Appellee, a female officer with the Los Angeles Police Department, alleged that appellants violated her right
              to equal protection, due process and right to petition the government because they violated LAPD
              confidentiality regulations and delayed the investigation into her allegations of co-worker rape.
              (Lead counsel)


              National Abortion Federation v. Operation Rescue
              8 F.3d 680 (9th Cir. 1993)
              Class-action state-wide injunction against blockades of women’s health care clinics by anti-abortion activists.
              First case decided under the “frustrate and hinder” clause of 42 U.S.C. § 1985(3), the 1871 Ku Klux Klan
              Act. Appeals court held cause of action under “frustrate and hinder” clause was properly plead and reversed
              12(b)(6) ruling on that claim.
              (Co-lead counsel throughout; argued on appeal)


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                Hewitt v. Joyner
                940 F.2d 1561 (9th Cir. 1991)
                Establishment Clause challenge to Christian theme park, Desert Christ Park, owned and operated by San
                Bernardino County. Ninth Circuit held County ownership and operation of the park violated the
                Establishment Clause.
                (Lead counsel throughout litigation; argued on appeal).

                Standing Deer v. Carlson
                831 F.2d 1525 (9th Cir. 1986)
                First Amendment challenge for Native Americans at Lompoc Federal Penitentiary to regulation barring
                religious headbands in the dining facilities for purported health reasons.
                (Argued and briefed on appeal)


                Burbridge v. Sampson
                74 F.Supp.2d 940 (C.D. Ca. 1999)
                First Amendment challenge to community college policy regulating student speech in public fora on campus.
                Court issued a preliminary injunction, declaring the college’s speech regulations unconstitutional.


                Rubin v. City of Santa Monica
                823 F.Supp. 709 (C.D. Ca. 1993)
                First Amendment challenge to city permit scheme limiting access to public parks for protected expressive
                activities. Court issued a preliminary injunction and declared the permit scheme unconstitutionally on
                vagueness grounds and procedural due process grounds. (Lead counsel)



  State Court
                Terry Tipton-Whittingham, et al. v. City of Los Angeles
                34 Cal.4th 604 (2002)
                California continues to recognize “catalyst” fee awards to prevailing parties under the private attorney-
                general statute (Cal. Code of Civ. Proc. §1021.5) and Fair Employment and Housing Act (FEHA) despite
                change in federal civil rights fee-shifting law. Under California law, there is no requirement of a judicial
                determination establishing a change in the legal obligations of the parties.
                (Co-counsel and argued at California Supreme Court)


                Los Angeles Alliance for Survival v. City of Los Angeles
                22 Cal.4th 352 (2000)
                Ordinance restricting certain activity as “aggressive solicitation” was not content-based under California
                Constitution
                (co-counsel)
                Williams v. Garcetti
                5 Cal.4th 561 (1993), sub nom Williams v. Reiner, 13 Cal.App.4th 392 (1991)
                Challenge on due process grounds to portion of STEPP law which imposed a criminal penalty on parents of
                minor children engaged in or at risk of delinquent conduct.
                (Argued and brief on appeal to California Supreme Court)

                Sands v. Morongo Unified School District
                53 Cal.3d 863 , cert denied, 112 U.S. 3026 (1991)
                225 Cal.App.3d 1385 (1989)
                Establishment Clause challenge invalidating prayers at public high-school graduations.
                (Argued and briefed as lead counsel throughout litigation)




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              Walker v. Superior Court of Sacramento
              47 Cal.3d 112 (1988)
              Establishment Clause/Free Exercise/Due Process challenge to criminal prosecution of Christian
              Science parents for death resulting from use of prayer instead of traditional medicine in treatment
              of ill child. (Wrote amicus brief on due process issues).

              Irvine Valley College Academic Senate, et al. v. South Orange County Community College District
              129 Cal.App.4th 1482 (2005)
              Statutory construction of plain language of Education Code §87360, bolstered by legislative intent, requires
              actual joint agreement and mutual development of revisions to faculty hiring policies.
              (co-counsel, drafted final briefs on appeal)

              Fashion 21, et al. v. Coalition for Humane Immigrant Rights (CHIRLA), et al.
              111 Cal.App.4th 1128 (2004)
              Special motion to strike defamation complaint by retainer against garment worker advocates must be granted
              as the plaintiff retailer could not establish a probability of prevailing on the merits of their claims. Garment
              worker advocates properly relied on draft labor commission regulations suggesting retailer could be liable for
              sweatshop conditions of manufacturing of its retail goods.
              (lead counsel at all stages)

              Gonzalez v. Superior Court
              33 Cal.App.4th 1539 (1995)
              Challenge to discovery order in sexual harassment case requiring plaintiff to disclose name of confidential
              informant who provided her with photographic evidence of harassment. “After-acquired evidence” rule
              applied to require disclosure.
              (Lead counsel in trial court and appeal)

              Lantz. v. Superior Court of Kern County
              28 Cal.App.4th 1839 (1994)
              Privacy rights challenge to interpretation of Consumer Personnel Records Statute (CCP § 1985(3), requiring
              strict adherence to statutory procedures and limiting exemption of local government agencies from adhering
              to statutory requirements.
              (Lead counsel throughout litigation)

              Rudnick v. McMillan
              25 Cal.App.4th 1183 (1994)
              Defamation verdict involving public figure plaintiff and local environmentalist author of letter to editor
              overturned on basis that letter was protected opinion and public figure subject to constitutional malice proof
              burden. Wrote amicus brief which formed basis of appellate ruling.

              Westside Sane/Freeze v. Hahn
              224 Cal.App.3d 546 (1990)
              Challenge to restrictions on First Amendment petition activities in shopping center.
              (Co-counsel, co-wrote appeal)

              City of Glendale v. Robert George
              208 Cal.App.3d 1394 (1989)
              Reversal of trial court order imposing prior restraints on speech of “Presidential Santa” on the basis that he
              constituted a public nuisance to his neighbors in a residential area.
              (Argued and briefed on appeal)

              McCarthy v. Fletcher
              207 Cal.App.3d 130 (1989)
              Challenge to removal of textbooks from school reading list based on community-based religious objections.
              Court of Appeal reversed summary judgment decision, holding that there was sufficient evidence of
              constitutionally impermissible factors in evaluation of appropriateness of class-room reading materials.
              (Argued and brief on appeal)

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                Fiske v. Gillespie
                200 Cal.App.3d 130 (1988)
                Challenge to sex-based actuarial presumptions in insurance industry rate for particular types of life insurance
                and annuity benefits.
                (Co-Counsel, Argued on appeal)




     Publications:
     (Partial listing)s

                Catalyst Fees After Buckhannon
                Civil Rights Litigation and Attorney Fees Annual Handbook
                (January 2006)

                Free Speech and Harassment: An Overview
                in the Public Employee Sector
                CPER: CALIFORNIA PUBLIC EMPLOYEE RELATIONS
                Institute of Industrial Relations - UC Berkeley
                June 1999 No. 136

                Defeating Employer Defenses to Supervisor Liability
                After Ellerth and Faragher
                ADVOCATE, October 1998

                Student Expression Under California Law
                UCLA Journal of Education
                Volume 3, pp. 127-137 (1989)

                Should Attorneys Be Disciplined For Gender Bias
                Point/Counterpoint ABA Journal August, 1995

                Fight Illegal Police Practices in State Court
                Los Angeles Daily Journal
                March 6, 1992

                Judicial Oversight Limited by Supreme Court
                Los Angeles Daily Journal
                May 6, 1991

                Jury Nullification is Conscience of Community
                Los Angeles Daily Journal
                August 31, 1990

                A Basic Right Merits Shield From The Mob
                Los Angeles Times
                August 11, 1991 p.M5




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               Prop 115 revisited: Police charged with crimes
               deserve fair trials too
               Los Angeles Daily News
               May 7, 1991

               Prayer Doesn’t Belong at Graduation
               USA Today
               May 15, 1991 p. A10

               Killea Tactic Can Only Hurt the Church in the Long Run
               Los Angeles Times (San Diego)
               November 20, 1989 p.B7

               The Fifth is a Shield for All
               Los Angeles Times
               August 6, 1988 II8
               (authored for Exec. Dir. ACLU)

               Which Way Will Rehnquist Court Turn?
               Los Angeles Daily News
               June 18, 1986 p.21

               Constitution Exacts Cost for Religious Freedom
               Los Angeles Daily News
               June 8, 1986 FOCUS p.3


  Education:
               Peoples College of Law                                                              J.D. May, 1978

               Douglass College.For Women, Rutgers University                                     B.A . June, 1968


  Professional and
  Community Activities:

               Adjunct Professor - Loyola Law School                                                 2007-present
               Civil Rights Advocacy Practicum


               Blue Ribbon Panel on LAPD Rampart Inquiry, Member                                       2004-2006


               Ninth Circuit Gender Bias Task Force                                                     1992-1993
               Convenor, Advisory Committee on Employment Law


               Ninth Circuit Conference on “Ethnicity, Race, and Religion in the Ninth Circuit”              1993
               Member, Working Subcommittee

               Los Angeles Public Interest Law Journal                                               2007-present
               Advisory Board


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                Los Angeles Center for Law and Community Action                    2015-present
                Member, Board of Directors


                National Police Accountability Project                             2006-present
                Member, Advisory Board and Board of Directors


                National Lawyers Guild, Los Angeles - President                     2001-2008


                National Lawyers Guild - National Executive Vice President          2009-2011


                National Lawyers Guild Far West Regional Vice-President             2003-2005


                National Lawyers Guild, National Executive Committee                2003-2012


                NLG National Mass Defense Committee, Co-chair                       2003-2012


                Women Lawyers Association of Los Angeles                            1985-2002
                Member, ProChoice Committee


                The California Anti-SLAPP Project                                    1995-2010
                Member, Board of Directors


  Awards:
  (Partial listing)

                PEN Freedom to Write Award                                                1991


                American Jewish Congress Tzedek Award                                     1992


                Planned Parenthood Los Angeles, Distinguished Service Award               1990


                Freethought Heroine Award                                                 1992


                National Lawyers Guild - Los Angeles                                      1999


                ACLU of Southern California Pro Bono Attorney Award                       2001


                Asian Pacific American Legal Center Pro Bono Award                        2003


                California Lawyer: Super Lawyer -Civil Rights/Constitutional Law    2004-2014


                ACLU of Southern California Freedom of Expression Award                   2007


                Daily Journal Top 100 Most Influential Lawyers in California              2007

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              National Lawyers Guild - Ernie Goodman Award                                                  2007


              Angel Award - California Lawyer Magazine Award for pro bono work                              2007


              CLAY Award (California Lawyer of the Year - civil rights) - California Lawyer Magazine        2008


              Top 75 Women Litigators in California - Daily Journal                                    2008, 2013


              California Super Lawyers - Top 50 Women Lawyers in Southern California                        2014


              National Lawyers Guild, Los Angeles Law for the People Award                                  2014


              ACLU Lifetime Achievement Award                                                               2017




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       1 DISABILITY RIGHTS LEGAL CENTER

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      10      Daniel M. Perry (Bar No. 264146)
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      11      Samir L. Vora (Bar No. 253772)
      12      svora@milbank.com
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      13   Los Angeles, CA 90067
      14   Telephone: (424) 386-4000
           Facsimile: (213) 629-6063
      15   Attorneys for PLAINTIFF MICHAEL GARCIA and the Plaintiff Class
      16
                             UNITED STATES DISTRICT COURT
      17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
      18

      19 MICHAEL GARCIA on behalf of                 Case No. : CV 09-08943 DMG (SHx)
      20 himself and others similarly situated,
                                                     DECLARATION OF ANNA RIVERA
      21                                Plaintiff,   IN SUPPORT OF PLAINTIFF’S
      22                                             NOTICE OF MOTION AND MOTION
                  vs.                                FOR AWARD OF ATTORNEYS’
      23                                             FEES AND EXPENSES RELATED
      24 LOS ANGELES COUNTY SHERIFF’S                TO CLASS ACTION SETTLEMENT
           DEPARTMENT, a public entity, et al.,      WITH COUNTY OF LOS ANGELES
      25

      26                            Defendants.
      27

      28

            DECLARATION OF ANNA RIVERA IN SUPPORT OF PLAINTIFF’S MOTION FOR
                              AWARD OF ATTORNEYS’ FEES                   67
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       1
                               DECLARATION OF ANNA RIVERA
       2
           I, ANNA RIVERA, declare:
       3

       4        1.     I am a Senior Staff Attorney at the Disability Rights Legal Center
       5 (“DRLC”). The DRLC, along with co-counsel at Milbank Tweed, Hadley &

       6 McCloy (“Milbank”), represents Plaintiff Michael Garcia and has been appointed

       7 by the Court as Class Counsel. The facts set forth herein are based upon my

       8 personal knowledge, my review of documents prepared and/or maintained by

       9 DRLC in the ordinary course of business, and information provided to me by

      10 employees of DRLC’s co-counsel, Milbank. If called as a witness, I could and

      11 would testify competently thereto.

      12        2.     DRLC is a 501(c)(3) non-profit public interest organization dedicated
      13 to advancing the civil rights of people with disabilities through education,

      14 advocacy and litigation. Founded in 1975, DRLC is one of the oldest non-profit,

      15 public interest law centers to focus on representing individuals with diverse

      16 disabilities. DRLC’s mission is to champion the rights of people with disabilities

      17 through education, advocacy and litigation. DRLC accomplishes its work through

      18 several programs, including the Civil Rights Litigation Program, Education

      19 Advocacy Program, Cancer Legal Resource Center, the Inland Empire Program,

      20 and the Community Advocacy Program. DRLC, engages in, inter alia, class

      21 action, multi-plaintiff and other complex impact litigation on behalf of individuals

      22 with disabilities who face discrimination or other violations of civil rights or

      23 federal statutory protections. DRLC is generally acknowledged to be a leading

      24 public interest organization. Attorneys in the firm have lectured at local, state, and

      25 national legal and professional organizations on the law applicable to individuals

      26 with disabilities.

      27

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       1         3.     DRLC has litigated complex civil rights and public interest cases for
       2 over 40 years with a focus on impact complex litigation affecting the disability

       3 community. Examples include: Willits, et. al. v. City of Los Angeles, Case No. CV

       4 10-05782 CBM (RZx) (a successfully settled class action challenging the City of

       5 Los Angeles' failure to maintain pedestrian right of ways, including sidewalks and

       6 curb ramps for people with mobility disabilities); Ms. Wheelchair California v.

       7 Starline Tours, No. CV11-02620JFW (CWx) (C.D. Cal.) (a successfully settled

       8 class action resulting in company-wide change in policy governing accessible tours

       9 and seating); Peter Johnson et al. v. Los Angeles County Sheriff’s Department et

      10 al., USDC Case No. CV 08-03515 DDP (SHx) (a successfully settled class action

      11 currently in the monitoring stage on behalf of individuals with mobility

      12 impairments to obtain program and physical access while detained in the Los

      13 Angeles County Jail); Casey A., et al. v. Robles, et al., Case No. CV10-00192-

      14 (GHK) (FMx) (C.D. Cal.) (a successfully settled class action addressing Los

      15 Angeles County’s failure to provide youth in the County’s largest probation camp

      16 with basic and appropriate education and rehabilitative services); Doe2 v. County

      17 of San Bernardino, et al., (CV ED 02-962 SGL) (a successfully settled class action

      18 addressing the County’s failure to provide special education and mental health

      19 services to children with disabilities in their custody in juvenile detention);

      20 Valenzuela v. County of Los Angeles, Case No. CV 02-9092 (JWJx) (C.D. Cal.) (a

      21 successfully settled class action addressing failure to provide effective

      22 communication for people who are deaf and hard of hearing in field and jail

      23 settings by Los Angeles County Sheriff’s Department); and Lauderdale v. Long

      24 Beach Police Department, Case No. CV 08-979 ABC (JWJx) (a successfully

      25
           settled class action addressing police department’s failure to provide effective
      26
           communication for people who are deaf or hard of hearing.).
      27
           //
      28

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       1         4.     As a non-profit law firm and a provider of legal services pursuant to
       2 grants and other funding, DRLC does not charge fees to its clients for any work

       3 undertaken on their behalf. DRLC primarily handles cases in which the client

       4 cannot afford to retain a law firm, where other lawyers will not handle the matter,

       5 and/or where the injunctive relief is the primary outcome of the litigation. Our

       6 legal services are provided free of charge to our clients, with attorneys’ fees

       7 generally paid pursuant to fee shifting statutes.

       8                Case History and Settlement with County Defendants
       9
                 5.     Plaintiff obtained excellent results through the settlement reached with
      10
           Defendants County of Los Angeles, Los Angeles County Sheriff’s Department,
      11
           Sheriff Baca in his official capacity (collectively, “County Defendants”).
      12
                 6.     As representatives of class, Plaintiffs engaged in thorough discovery
      13
           to ensure that the parties and the Court had adequate information to assess the
      14
           barriers to accessing special education in the jail and relief sought for the class—as
      15
           well as the reasonableness of the Settlement Agreement. The discovery included:
      16
           substantial written discovery, including interrogatories, requests for admissions,
      17
           and requests for production of documents, which resulted in the combined
      18

      19
           production of approximately hundreds of documents. Further, Plaintiffs actively

      20
           pursued discovery in this matter. Due to disagreements that arose during the

      21
           discovery process, the parties met and conferred on many occasions and Plaintiffs

      22
           also filed a discovery motion. In addition to extensive written discovery, Plaintiffs

      23
           deposed four County of Los Angeles officials and the County of Los Angeles’

      24
           expert witness. The County of Los Angeles deposed the Named Plaintiff as well as

      25
           Plaintiff’s expert witness.

      26         7.     In addition, the parties filed cross-motions for summary judgment.
      27
                 8.     In the summer of 2009, the Parties began settlement negotiations. The
      28
           Parties participated in extensive arms-length settlement negotiations, which
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       1 included extensive written negotiations, multiple in-person meetings, telephonic

       2 settlement negotiations, and multiple in-person settlement conferences with Judge

       3 Terry J. Hatter Jr., who acted as a settlement officer in this case.

       4
                 9.     Concurrently with the Lawsuit, Los Angeles Unified School District
       5
           (“LAUSD”) commenced a civil action (“Related Case”) in the United States
       6
           District Court for the Central District of California, Case No. 2:09-cv-09289-VBF-
       7
           CT appealing the decision of the California Office of Administrative Hearings
       8
           (“OAH”) which found that, pursuant to California Education Code section 56041,
       9
           the LAUSD was the entity legally responsible for providing Plaintiff Michael
      10
           Garcia with a free appropriate public education while he was incarcerated in the
      11
           LACJ. The District Court in the Related Case subsequently entered orders
      12
           affirming the OAH decision. On or about June 3, 2010, LAUSD appealed that
      13
           order to the United States Court of Appeals for the Ninth Circuit.
      14
                 10.    Plaintiffs’ settlement negotiations with the County Defendants where
      15
           effectively stayed pending the outcome of LAUSD’s appeal in the Related Case in
      16
           the Ninth Circuit. On or about January 20, 2012, the Ninth Circuit certified the
      17
           question to California Supreme Court. On or about March 28, 2012, The
      18

      19
           California Supreme Court agreed to take the matter. On or about December 17,

      20
           2013, the California Supreme Court issued a seminal decision, holding that the

      21
           assignment of responsibility for providing special education to eligible county jail

      22
           inmates between the ages of 18 and 22 years is governed by the terms of California

      23
           Education Code Section 56041. The Ninth Circuit then issued a final decision on

      24
           January 28, 2014, finding that the District Court’s ruling in the Related Case was

      25
           consistent with the California Supreme Court’s answer to the certified question, the

      26 Ninth Circuit Court of Appeals affirmed the District Court’s decision affirming the

      27 2009 decision of the administrative law judge.

      28

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       1         11.    Subsequent to this decision, the Parties renewed their settlement
       2 negotiations. The Parties engaged in several in-person meetings, telephonic

       3 negotiations, and exchanged multiple written drafts of the Settlement Agreement.

       4 The Parties worked diligently to finalize the terms of the proposed Settlement

       5 Agreement. On or about February 9, 2017 the Parties entered into a written

       6 Settlement Agreement. Attached hereto as Exhibit A is a true and correct copy of

       7 the Settlement Agreement.

       8
                 12.    Plaintiff obtained excellent results through the settlement reached with
       9
           Defendants County of Los Angeles, Los Angeles County Sheriff’s Department,
      10
           Sheriff Baca in his official capacity (collectively, “County Defendants”).
      11
                 13.    Plaintiff described the terms of that settlement in more detail in his
      12
           Motion for Preliminary Approval of Class Action Settlement Agreement. (See Dkt.
      13
           No. 424-1 and 424-3). As part of the settlement agreement, the County Defendants
      14
           have agreed to do the following: (a) administer a questionnaire to all newly booked
      15
           18-22 year old individuals who are processed through the LACJ Inmate Reception
      16
           Center aimed at identifying those inmates who would like to receive special
      17
           education services, (b) notify the charter school that currently provides services at
      18

      19
           the LACJ of those individuals who affirmatively state they would like to receive

      20
           special education services, (c) create and distribute an informational pamphlet

      21
           regarding the availability of special education services and how to request them,

      22
           (d) modify its Inmate Grievance/Service Request Form to include a box titled

      23
           “Special Education/IEP,” (e) designate an employee or employees who will

      24
           facilitate the provision of special education services, and (f) train relevant

      25
           Sheriff’s Department staff regarding the provision of special education services to

      26 eligible students.

      27

      28

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       1        14.      The qualifications of Class Counsel have been set forth in great detail
       2 in the earlier class certification briefing in this case and are discussed further below

       3 in paragraphs 19-57. (See Dkt. Nos. 81-84).

       4                                         DRLC Rates
       5        15.      In setting our rates, DRLC reviews published cases and unpublished
       6 decisions concerning attorneys’ fees rates used by comparable non-profit public

       7 interest organizations, awards that DRLC has received for attorneys’ fees, and

       8 other information from private attorneys relating to the rates charged by private

       9 firms for comparable litigation. DRLC also carefully monitors its billing practices

      10 to ensure that courts are able to properly perform the lodestar analysis for a fee

      11 award. We also take into account the experience of the attorneys and staff working

      12 on the case and the complexity of the case.

      13        16.      Several courts have found DRLC’s hourly rates reasonable. Examples
      14 of courts finding DRLC’s hourly rates reasonable include:

      15              x Michael Garcia v. Los Angeles County Sheriff’s Dept., Case No. CV
      16                 09-8943 MMM (SHx), the United States District Court for the Central
      17                 District of California approved DRLC’s 2011 historical rates in a class
      18                 action. Attached as Exhibit B is a true and correct copy of that order.
      19
                      x California in Communities Actively Living Independent and Free, et
      20
                         al. v. City of Los Angeles et al., Case No. CV 09-0287 CBM (RZx)
      21
                         the United States District Court for the Central District of California
      22
                         found DRLC’s 2012 historical rates reasonable. This included a range
      23
                         of $450-$550 for staff attorneys and $230 for law clerks. And the
      24
                         court found a 2012 historical hourly rate of $550 for a 2003 law
      25
                         graduate was reasonable. Id. at 6:11-14. The court further found that
      26
                         the plaintiffs had “provided sufficient evidence . . . supporting the
      27
                         reasonableness of their 2012 requested hourly rates” and “that
      28
                         requested hourly rates correspond to the prevailing market rates in the
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       1              relevant community, considering the experience, skill, and reputation
       2              of the attorneys in question.” Id. at 2:18-20. Attached hereto as
       3              Exhibit C is a true and correct copy of that order.
       4           x Peter Johnson v. Los Angeles County Sheriff’s Department, Case No.
       5              CV 08-03515 DDP (SHx), the United States District Court for the
       6              Central District of California granted Plaintiffs’ Motion for Attorneys’
       7              Fees and Costs in full. Attached as Exhibit D is a true and correct
       8              copy of that order. In particular, the motion that was granted sought
       9              time billed by DRLC attorneys at 2014 historical hourly rates of $800
      10              for a 1982 graduate, $700 for a 1992 graduate, $500 for a 2005
      11              graduate and an hourly rate of $230 for law clerks. See, Declaration of
      12              Richard Diaz in support of Plaintiffs’ Motion for Attorneys’ Fees,
      13              attached as Exhibit E (summary of hourly rates sought by Plaintiffs at
      14              para. 38 of Diaz Declaration) (exhibits to Declaration omitted due to
      15              length).
      16
                   x Willits et al v. City of Los Angeles et al, Case No. CV 10-5782 CBM
      17
                      (RZx), the United States District Court for the Central District granted
      18
                      Plaintiffs’ Motion for Attorneys’ Fees and Costs and approved
      19
                      DRLC’s 2014 historical hourly rates. Attached as Exhibit F is a true
      20
                      and correct copy of that order. In particular, the motion that was
      21
                      granted sought time billed by DRLC attorneys at 2014 historical
      22
                      hourly rates of $680 for a 1987 graduate, $550 for a 2003 graduate,
      23
                      $375 for a 2010 graduate, and an hourly rate of $230 for law clerks.
      24
                      Id. at pg.6.
      25
                   x Greater Los Angeles Agency on Deafness, Inc. et al v. Krikorian
      26
                      Premiere Theaters, LLC, Case No. CV 13-07172-PSG (ASx), the
      27
                      United States District Court for the Central District of California
      28
                      approved DRLC’s 2015 historical rates in a class action which had
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       1                systemic implications regarding access to movie theaters for
       2                individuals who are deaf or hard of hearing. Attached as Exhibit G is
       3                a true and correct copy of that order.
       4         17.    Experts in the field have also found DRLC’s 2016 historical rates to
       5 be reasonable. For example, in a declaration in support of plaintiff’s motion for

       6 reasonable attorney fees and costs, Mr. Barrett S. Litt opined as to the

       7 reasonableness of DRLC’s rates in the matter of Independent Living Center of

       8 Southern California et al v. City of Los Angeles, et al., Case No. CV 12-0551 FMO

       9 (PJW), a class action case currently pending in the United States District Court for

      10 the Central District of California. Attached as Exhibit H is a true and correct copy

      11 of that declaration (exhibits have been omitted due to length).

      12         18.    DRLC’s current rates have also been found reasonable by Richard
      13 Pearl, an expert in the area of attorney fees charged in California and elsewhere. In

      14 a declaration in support of plaintiff’s motion for reasonable attorney fees and costs,

      15 Mr. Pearl opined as to the reasonableness of DRLC’s rates in the matter of Ochoa

      16 et al v. City of Long Beach et al, Case No. 2:14-cv-04307-DSF-FFM, a class action

      17 case currently pending in the United States District Court for the Central District of

      18 California. Attached as Exhibit I is a true and correct copy of that declaration.

      19         19.    DRLC’s hourly rates for staff on this case are set forth in the chart
      20 below at paragraph 66. This chart lists the billing attorney, year of law school

      21 graduation, and pertinent hourly rate for all DRLC staff for whom fees are

      22 requested in this matter. Based on the information that I reviewed in working with

      23 the Director of Litigation to set our hourly rates, I believe our rates to be consistent

      24 with the current prevailing market rates charged by other attorneys with

      25
           comparable skills, qualifications, experience, and reputation in the market covered
      26
           by the Central District.
      27
           //
      28
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      1                              DRLC Attorneys and Their Roles
      2         20.    In addition to the hours expended by Milbank, Plaintiff is seeking
      3 compensation for eight DRLC attorneys who billed on this matter: (1) Paula

      4 Pearlman, former Executive Director; (2) Shawna L. Parks, former Legal Director

      5 of the DRLC; (3) Maronel Barajas, Director of Litigation; (4) Matthew Strugar,

      6 former Staff Attorney; (5) Umbreen Bhatti, former Staff Attorney; (6) Carly

      7 Munson, former Staff Attorney; (7) Andrea Oxman, former Staff Attorney; (8)

      8 Elliot Field, former Staff Attorney.

      9         21.    Paula Pearlman was the Executive Director at DRLC when she
     10 worked on this instant matter. As Executive Director, her duties included oversight

     11 of DRLC’s litigation efforts. She also taught a Disability Rights class at Loyola

     12 Law School in Los Angeles. I understand that, prior to joining DRLC, Ms.

     13 Pearlman was a former Supervising Attorney at the California Women’s Law

     14 Center, where she specialized in sex discrimination in employment and education.

     15 I understand that Ms. Pearlman graduated from the Southwestern University

     16 School of Law in 1982. I understand that she has served on the U. S. Access Board

     17 Courthouse Access Advisory Committee, as the board chair of the Employment

     18 Round Table of Southern California (ERTSC), as a board member of the Legal Aid

     19 Association of California, as co-chair of the Lawyer Representatives of the Central

     20 District, Ninth Circuit Judicial Conference, and as a member of the California State

     21 Bar Standing Committee on the Delivery of Legal Services.

     22         22.    I understand that Ms. Pearlman has received numerous awards
     23 including the 2010 St. Ignatius of Loyola Award, St. Thomas More Society, the

     24 2009 “FEHA 50th Anniversary Civil Rights Award,” from the California

     25
          Department of Fair Employment and Housing, and she was a 2007 Legal Aid
     26
          Association of California Attorney Award of Merit Recipient. She was named a
     27
          “Super Lawyer” in 2009 in the area of public interest law and class actions, and
     28

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      1 she was a 2007 finalist for “Attorney of the Year” for Trial Lawyers for Public

      2 Justice.

      3         23.    I understand that Ms. Pearlman’s experience with the plaintiffs and
      4 understanding of public entity work was important to filing this case. I understand

      5 that Ms. Pearlman participated in depositions, settlement conferences, and

      6 conferred within DRLC to discuss strategy and tasks.

      7         24.    A 2014 historical hourly rate of $800 was previously approved for
      8 Ms. Pearlman in Peter Johnson v. Los Angeles County Sheriff’s Department, Case

      9 No. CV 08-03515 DDP (SHx); that order and related declaration are attached

     10 hereto as Exhibits D and E.

     11         25.    DRLC seeks compensation for Ms. Pearlman at an hourly rate of
     12 $875, which is DRLC’s 2017 billing rate for an attorney of her experience.

     13         26.    Shawna L. Parks is a 1999 graduate of U.C. Berkeley School of
     14
          Law, and a 1995 graduate of U.C. Berkeley. I understand that from 1999-2000
     15
          Ms. Parks was a Fulbright Scholar in Budapest, Hungary, where she researched a
     16
          recently enacted nondiscrimination statute, worked on developing test litigation,
     17
          and co-organized a conference of Eastern European disability rights advocates.
     18
                27.    From early 2012 through late 2013 Ms. Parks was a Director of
     19

     20
          Litigation at Disability Rights Advocates in Berkeley, California. From 2005

     21
          through early 2012 Ms. Parks was at the Disability Rights Legal Center where she

     22
          was Legal Director from 2009 through late 2011. Prior to her work at the DRLC

     23
          Ms. Parks was a staff attorney and Equal Justice Works Fellow at Disability Rights

     24
          Advocates from 2000 through 2003. From 2003 through 2004 she was an associate

     25
          at what was then known as Schonbrun DeSimone Seplow Harris & Hoffman,

     26 where she worked primarily on race and gender discrimination employment cases.

     27 Ms. Parks has extensive expertise in the substantive areas of disability rights, civil

     28 rights and education, including special education. She has litigated numerous

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      1 cases, including both class actions and individual cases, in these fields. Ms. Parks

      2 is currently the principal attorney in the Law Office of Shawna L. Parks, which she

      3 founded in 2014.

      4         28.    I understand that in the instant matter Ms. Parks participated in many
      5 aspects of the litigation including discovery, research, settlement, motion work and

      6 engaged in strategy sessions.

      7         29.    A 2012 historical rate of $665 was approved for Ms. Parks in CALIF,
      8 et al., v. City of Los Angeles, et al., 2011 WL 4595993 (C.D. Cal. 2011), Case No.

      9 2:09-cv-00287- CBM-RZ. A true and correct copy of that fee order is attached

     10 hereto as Exhibit C. In that Order the Court describes Ms. Parks as “nationally

     11 recognized as a leading disability rights attorney.” Order at 4:8

     12         30.    DRLC seeks compensation for Ms. Parks at an hourly rate of $745,
     13 which is DRLC’s 2017 billing rate for an attorney of her experience.

     14         31.    Maronel Barajas is the Litigation Director at the Disability Rights
     15 Legal Center. As the Director of Litigation, she oversees all aspects of DRLC’s

     16 litigation program, including supervising and litigating individual, multi-plaintiff,

     17 and class action cases. This includes coordinating, supervising and providing

     18 substantive expertise and support to attorney staff and legal assistants, as well as

     19 law clerks and volunteers in DRLC’s two offices. Further, her duties as the

     20 Director of Litigation also include negotiating co-counseling agreements, outreach,

     21 grant writing, retaining experts, and budgeting. She also lectures and provides

     22 training on disability rights issues in various forums and participates in legislative

     23 and regulatory comment on behalf of the organization.

     24         32.    Ms. Barajas is a 2003 graduate of Columbia Law School and 2000
     25
          graduate of the University of California, Irvine. The majority of her practice has
     26
          focused on civil rights matters, including matters on behalf of individuals with
     27
          disabilities. Indeed, civil rights has been my primary focus for approximately
     28
          twelve years. Approximately, nine of those years have been spent on cases
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      1 exclusively on behalf of individuals with disabilities. During this time, she

      2 litigated various cases in the area of disability rights, including individual, multi-

      3 plaintiff and class action cases. These cases have primarily been against public

      4 entities, and most often with the goal of system reform. Ms. Barajas has also

      5 supervised attorneys in numerous lawsuits affecting the rights of people with

      6 disabilities. As a result, she has developed extensive knowledge in the area of

      7 disability rights cases, cases requiring policy reform, and cases involving public

      8 entities.

      9         33.    After law school, from late 2004 through early 2005, Ms. Barajas
     10 worked as a legal representative for MACS Copy and Interpreting Inc., where her

     11 work focused primarily on worker’s compensation matters. In early 2005, Ms.

     12 Barajas joined DRLC and held various positions until she left in late 2008. These

     13 positions included being an Education Advocate, Staff attorney, Associate Director

     14 and ultimately Director of the Education Advocacy Program. During 2005-2008,

     15 her work was exclusively on behalf of people with disabilities, with a focus on

     16 matters on behalf of students with disabilities. Ms. Barajas worked on cases at the

     17 administrative and federal court level. She also regularly lectured and trained on

     18 issues relating to individuals with disabilities, including participating in legislative

     19 and regulatory comment on behalf of the organization. By way of example, Ms.

     20 Barajas was an Adjunct Professor at Loyola Marymount University in Los Angeles

     21 where she taught an upper division Special Education and the Law course; guest

     22 lectured at Loyola Law School’s Disability Rights and Special Education Law

     23 class; and wrote articles related to the rights of students with disabilities. In her

     24 capacity as Director of the Education Advocacy program, she also supervised

     25
          attorney staff and managed DRLC’s Education Advocacy Program’s externship
     26
          program. In 2007, during Ms. Barajas tenure as the Director, the Education
     27
          Advocacy Program along with DRLC’s litigation program was recognized as the
     28
          Agency Winner at the National Association of Counsel for Children in Keystone,
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      1 Colorado for improving the educational opportunity for students with disabilities

      2 held in detention facilities and for improving the access to courts for individuals

      3 with disabilities.

      4         34.    In late 2008, Ms. Barajas left DRLC to become an associate with the
      5 former law firm of Traber & Voorhees, a prominent civil rights litigation firm in

      6 Pasadena, California. Traber & Voorhees recently dissolved after one its founding

      7 partners, Theresa M. Traber, was appointed to the bench. At Traber & Voorhees,

      8 her focused primarily on discrimination cases in the employment, education, and

      9 custodial context. Ms. Barajas handled matters at the state, federal and state

     10 appellate level. She remained an associate with Traber & Voorhees until early

     11 2011.

     12         35.    In early 2011, Ms. Barajas returned to work with DRLC as the sole
     13 Senior Staff Attorney in the litigation program. In addition to focusing on impact

     14 and complex litigation, she co-authored an article with Paula Pearlman, Esq. for

     15 the 2011-2012 Ability magazine issue, titled “a boy and his dog” regarding a case

     16 where she was lead counsel from DRLC. To my knowledge, it was the first case

     17 of its kind where a federal court judge held that a student with autism had the right

     18 to attend school with his service dog. Until approximately 2013, Ms. Barajas also

     19 served as an Adjunct Professor at Loyola Marymount University where she taught

     20 an upper division Special Education and the Law course. Ms. Barajas also

     21 oversaw DRLC’s externship program with Loyola Law School until that

     22 partnership ended. In 2015, she was promoted to Managing Attorney of the

     23 litigation department, and in late 2016, she was again promoted, this time to

     24 Director of Litigation, a position that she still holds.

     25
                36.    I understand that Ms. Barajas participated in settlement and engaged
     26
          in strategy sessions.
     27
                37.    A 2012 historical hourly rate of $550 for a 2003 law graduate was
     28
          previously approved in California in Communities Actively Living Independent and
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      1 Free, et al. v. City of Los Angeles et al., Case No. CV 09-0287 CBM (RZx) at

      2 6:11-14; that order and related declaration are attached hereto as Exhibit C.

      3         38.    DRLC seeks compensation for Ms. Barajas at an hourly rate of $675,
      4 which is DRLC’s 2017 billing rate for an attorney of her experience

      5         39.    Matthew Strugar is a 2004 graduate from the University of Southern
      6 California Gould School of Law. When he worked on this matter, he was a Staff

      7 Attorney with the litigation department. While at DRLC, Mr. Strugar focused on

      8 class action and impact litigation centered on matters in the correctional context. I

      9 understand that Mr. Strugar participated in working with plaintiff and class

     10 members.

     11         40.    DRLC seeks compensation for Mr. Strugar at an hourly rate of $660,
     12 which is DRLC’s 2017 billing rate for an attorney of his experience.

     13         41.    Umbreen Bhatti graduated from the University of Michigan Law
     14 School in 2005. I understand that prior to joining DRLC she was an associate at

     15 Latham & Watkins and later a staff attorney at the ACLU of Delaware, where she

     16 managed a caseload involving civil rights cases in state and federal court and

     17 before state commissions, litigating a wide variety of civil rights issues. While she

     18 worked on this matter she was a Staff Attorney with the litigation department.

     19 While at DRLC, Mr. Gibson focused on class action and impact litigation centered

     20 on physical and programmatic accessibility for individuals with disabilities. In the

     21 instant matter, I understand that Ms. Bhatti participated in settlement and engaged

     22 in strategy sessions.

     23         42.    A 2014 historical hourly rate of $500 was previously approved for a
     24 2005 graduate in Peter Johnson v. Los Angeles County Sheriff’s Department, Case

     25
          No. CV 08-03515 DDP (SHx); that order and related declaration are attached
     26
          hereto as Exhibits D and E.
     27
                43.    DRLC seeks compensation for Ms. Bhatti at an hourly rate of $640,
     28
          which is DRLC’s 2017 billing rate for an attorney of her experience.
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      1         44.    Carly Munson is a 2006 graduate from Boston University School of
      2 Law. When she worked on this matter, she was a Staff Attorney. While at DRLC,

      3 Ms. Munson focused on impact litigation centered with a focus on matters in the

      4 educational context. I understand that Ms. Munson participated in drafting,

      5 reviewing, and revising documents related to the complaint, investigating the

      6 claims, working with the plaintiffs, motion work and settlement. Ms. Munson also

      7 participated in regular conference calls with co-counsel to discuss strategy and

      8 tasks and conferred within DRLC and with co-counsel.

      9         45.    DRLC seeks compensation for Ms. Munson at an hourly rate of $625,
     10 which is DRLC’s 2017 billing rate for an attorney of her experience.

     11         46.    Andrea Oxman is a 2007 graduate from the University of Southern
     12 California Gould School of Law. When she worked on this matter, she was a Staff

     13 Attorney with the litigation department. While at DRLC, Ms. Oxman focused on

     14 class action and impact litigation centered on physical and programmatic

     15 accessibility for individuals with disabilities. Ms. Oxman is currently an associate

     16 in private practice at Klinedinst PC. I understand that Ms. Oxman participated in

     17 drafting, reviewing, and revising documents related to the complaint, investigating

     18 the claims, working with the plaintiffs, discovery, motion work and settlement.

     19         47.    DRLC seeks compensation for Ms. Oxman at an hourly rate of $600,
     20 which is DRLC’s 2017 billing rate for an attorney of her experience.

     21         48.    Elliot Field is a 2009 graduate from Loyola Law School. When he
     22 worked on this matter, he was a Staff Attorney. While at DRLC, Mr. Field focused

     23 on impact litigation centered with a focus on matters in the educational context. I

     24 understand that Mr. Fields participated in depositions and worked with plaintiffs.

     25
                49.    DRLC seeks compensation for Mr. Field at an hourly rate of $525,
     26
          which is DRLC’s 2017 billing rate for an attorney of his experience.
     27
                50.    DRLC law clerks also worked on this matter. DRLC seeks
     28
          compensation for law clerks at an hourly rate of $250. DRLC seeks a currently
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      1 hourly rate of $250 for law clerks. DRLC relies on its law clerks primarily to do

      2 legal and factual research, and did so in this matter. DRLC’s law clerks are law

      3 students from local law schools, including Loyola Law School.

      4         51.    In California in Communities Actively Living Independent and Free,
      5 et al. v. City of Los Angeles et al., Case No. CV 09-0287 CBM (RZx) the United

      6 States District Court for the Central District of California found DRLC’s 2012

      7 rates of $230 for law clerks reasonable; that order and related declaration are

      8 attached hereto as Exhibit C.

      9         52.    DRLC also seeks compensation for work performed by Legal
     10 Assistants at a currently hourly rate of $250.

     11         53.    In California in Communities Actively Living Independent and Free,
     12 et al. v. City of Los Angeles et al., Case No. CV 09-0287 CBM (RZx) the United

     13 States District Court for the Central District of California found DRLC’s 2012

     14 rates of $230 for legal assistants reasonable; that order and related declaration are

     15 attached hereto as Exhibit C.

     16         54.    The manner in which DRLC staffed this case is fairly standard for a
     17 case of this size and importance.

     18         55.    DRLC made every effort to litigate this matter efficiently by
     19 coordinating our work, minimizing duplication, and assigning tasks in a time and

     20 cost efficient manner, based on the time keepers’ experience levels and talents.

     21         56.    The attorneys at Milbank worked on this matter as co-counsel and as
     22 appropriate. It was essential for the DRLC to co-counsel with the attorneys from

     23 Milbank in this matter particularly given their expertise and experience with

     24 litigation. The specific work that they did on the case and their rates are discussed

     25
          fully in the Declaration of Samir L. Vora in Support of Plaintiff’s Motion for
     26
          Award of Attorneys’ Fees and Expenses that is filed herewith.
     27
          //
     28
          //
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      1                                  Method of Recording Time
      2         57.     DRLC’s method of recording attorneys’ fees consists of recording
      3 time spent on particular cases as contemporaneously as possible with the actual

      4 expenditure of the time, in tenth of an hour increments, and submitting those time

      5 records in the regular course of business. DRLC’s law clerks and support staff do

      6 the same.

      7                 Exercise of Billing Judgment and Determining the Lodestar
      8
                58.    The $200,000 in fees and costs for DRLC and Milbank attorneys
      9
          combined represents only a portion of the actual hours expended by Plaintiffs’
     10
          counsel in the nearly eight years this case has been litigated. In determining the
     11
          reasonable attorneys’ fees for work performed DRLC calculated its lodestar based
     12
          on its current 2017 hourly rates as well as apportioning those fees for work
     13
          attributable to County Defendants.
     14
                59.    DRLC’s total actual fees and costs through October 2011 is $810,851.
     15
          A true and correct copy of DRLC’s billing statement is attached here to as Exhibit
     16
          J.
     17
                60.    In order to determine the amount of fees to apportion to County
     18

     19
          Defendants, I carefully reviewed DRLC’s billing statement on an entry by entry

     20
          basis in order to categorize time spent in the following categories: (a) time related

     21
          to general furtherance of Plaintiff’s claims in the case as a whole; and (b) time

     22
          related specifically to County Defendants.

     23
                61.    This resulted in 869.70 hours of time, for a total value of $538,213.50

     24
          for time spent in general furtherance of the litigation. And, 163.90 hours of time,

     25
          for a total value of $101,812.50 for time spent related specifically to County

     26 Defendants.

     27         62.    I then equally divided the time spent in general furtherance of the

     28 litigation among all Defendants in the litigation, for a total amount of

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      1 approximately 173.9 hours of time per defendant, for a total value of $107,642.70.

      2        63.    I then added $101,812.50 (total value for time spent related
      3 specifically to County Defendants) and $107,642.70 (the corresponding fraction of

      4 time spent in general furtherance of the litigation among all Defendants). This

      5 billing discretion resulted in final lodestar of $209, 455.20 for approximately 338

      6 hours as applied to the County Defendants

      7        64.    In reaching the lodestar for determining DRLC’s fees and costs, I
      8 carefully reviewed all of the DRLC attorneys’ billing statements. In reviewing this

      9 time spent by DRLC attorneys and law clerks, I exercised billing judgment and in

     10 doing so wrote-off certain time, as appropriate.

     11        65.    Below is a table of the DRLC time-keepers on this matter, including
     12 hours and total fees attributed to its claims against the County Defendants at the

     13 time of settlement:

     14                                                        Total
     15
          Attorney Name         Graduation Billing Rate                       Total Fees
                                                               Hours
     16
             Paula Pearlman           1982            $875        29.10              $25,462.50
     17

     18       Shawna Parks            1999            $745       223.70          $166,656.50

     19     Maronel Barajas           2003            $675        20.10              $13,567.50
     20
            Matthew Strugar           2004            $660        12.00               $7,920.00
     21
            Umbreen Bhatti            2005            $640        11.80               $7,552.00
     22

     23       Carly Munson            2006            $625       143.00              $89,375.00
     24      Andrea Oxman             2007            $600       758.60          $455,160.00
     25
                 Elliot Field         2009            $525        49.30              $25,882.50
     26
                 Law Clerks            N/A            $250        75.90              $18,975.00
     27

     28

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      1               Paralegals          N/A           $250          1.20               $300.00
      2
          DRLC Total Fees                                         1331.60            $810,851.00
      3
          Subtotal of DRLC                                         869.70            $538,213.50
      4
          Fees Spent in
      5
          General
      6
          Furtherance of
      7
          Litigation
      8

      9 Subtotal of DRLC                                           169.90            $101,812.50
     10 Fees Spent

     11 Specifically

     12 Related to County

     13 Defendants

     14
          DRLC Fees                                                          Total: $209, 455.20
     15
          Apportionment to
     16
          County
     17
          Defendants
     18

     19         66.     Since the time of settlement, DRLC has expended additional time
     20 negotiating and executing an amendment to the settlement agreement and in

     21 preparing the preliminary approval papers as well as the instant attorneys’ fee

     22 motion.

     23         67.     I have personally reviewed all the entries and calculations in this
     24 declaration. Any calculation errors in the totals of hours, fees, or expenses are

     25 inadvertent and mine alone.

     26         68.     In addition to fees, DRLC incurred out-of-pocket costs, as
     27 apportioned to County Defendants, which it has not included in its request here. As

     28 with time records, costs are recorded in our system as contemporaneously as

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                                         6 Fax: (310) 854-0812
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                                            kenlipton998431@aol.com
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                                           5900 Sepulveda Boulevard, Suite 400
                                         9 Van Nuys, California 91411
                                           Tel:    (818) 780-3562
                                        10 Fax:   (818)  780-9038
                                        11 Attorneys for Plaintiff LOREN STONE,
                                           on behalf of himself and all others
                                        12 similarly situated
            Beverly Hills, California
KIESEL LAW LLP




                                        13                       UNITED STATES DISTRICT COURT
               Attorneys at Law




                                        14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                        15 LOREN STONE, individually and on           Case No. 12-CV-01684 PSG (MANx)
                                           behalf of all others similarly situated,
                                        16                                            CLASS ACTION
                                                         Plaintiff,
                                        17                                            DECLARATION OF MATTHEW A.
                                                 vs.                                  YOUNG IN SUPPORT OF MOTION
                                        18                                            FOR FINAL APPROVAL OF
                                           HOWARD JOHNSON                             CLASS SETTLEMENT AND FOR
                                        19 INTERNATIONAL, INC., a Delaware            ATTORNEYS’ FEES, COSTS, AND
                                           Corporation; and DOES 1 - 10,              SERVICE PAYMENT
                                        20
                                                         Defendants.                  Judge:    Hon. Philip S. Gutierrez
                                        21
                                                                                      Date:     November 30, 2015
                                        22                                            Time:     1:30 p.m.
                                                                                      Crtrm.:   880 - Roybal
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                                         1         I, Matthew A. Young, declare:
                                         2         1.    I am an attorney at law licensed to practice before all Courts of the
                                         3 State of California and the United States District Court for the Central District of
                                         4 California. I am an associate at the law firm of Kiesel Law LLP, one of the counsel
                                         5 of record for Plaintiff Loren Stone herein. The following is based upon my personal
                                         6 knowledge, and if called upon as a witness to testify in this matter, I could and
                                         7 would testify competently thereto.
                                         8         2.    Attached hereto as Exhibit 1 is a true and correct copy of the
                                         9 Settlement Agreement and Release entered into by the parties (without exhibits).
                                        10         3.    Plaintiff and the Class Members are represented in this case by counsel
                                        11 who have significant experience in complex class action litigation, have negotiated
                                        12 numerous other substantial settlements, and have the ability to litigate this case on a
            Beverly Hills, California
KIESEL LAW LLP




                                        13 classwide basis if a fair settlement were not offered. Class Counsel include attorneys
               Attorneys at Law




                                        14 highly experienced in privacy rights litigation, and their expertise helped inform the
                                        15 settlement negotiations. Class Counsel were satisfied with the Settlement Agreement
                                        16 only after conducting an intensive settlement negotiation and thorough investigation
                                        17 into the factual and legal issues raised in this case. In negotiating and evaluating the
                                        18 Settlement Agreement, Class Counsel relied on their investigation and drew on their
                                        19 considerable experience, skill, and expertise in determining that the Settlement
                                        20 Agreement was fair, reasonable, and adequate.
                                        21         4.    That said, in my own personal opinion, the settlement presented in
                                        22 Plaintiff’s Motion for Final Approval of Class Settlement, filed herewith, is fair,
                                        23 adequate and reasonable.
                                        24         5.    Significant discovery was undertaken in this action including, but not
                                        25 limited to, numerous sets of interrogatories and requests for production, as well as
                                        26 third-party subpoenas, resulting in the production of nearly 4,000 pages of
                                        27 documents. Additionally, Plaintiff’s deposition was taken, and the depositions of
                                        28 three of Defendants’ corporate designees were taken in Aberdeen, South Dakota.
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                                         1 This information provided the parties with sufficient evidence to evaluate the
                                         2 strengths and weaknesses of Plaintiff’s claims and the benefits of the proposed
                                         3 Settlement.
                                         4        6.     It is also significant that this matter has undergone strenuous motion
                                         5 practice, including motions to dismiss and strike Plaintiff’s Complaint. Additionally,
                                         6 Plaintiff’s Class Certification motion has been fully briefed, but in light of this
                                         7 pending Settlement, the motion has not been heard.
                                         8        7.     Only after the above-described, hard-fought litigation, the parties
                                         9 retained the Honorable Leo Papas (Ret.) to serve as a third party neutral on
                                        10 November 4, 2014. The mediation on that date was unsuccessful, but the Parties
                                        11 continued settlement discussions through Judge Papas. On November 21, 2014,
                                        12 Judge Papas made a mediator’s proposal, which all Parties accepted. At all times,
            Beverly Hills, California
KIESEL LAW LLP




                                        13 the settlement negotiations, while professional, were adversarial, non-collusive, and
               Attorneys at Law




                                        14 conducted at arm’s-length.
                                        15        8.     Attached hereto as Exhibit 2 is a true and correct copy of the firm
                                        16 resume for Kiesel Law LLP, evidencing that Plaintiff is represented by qualified and
                                        17 competent counsel who have the experience and resources necessary to vigorously
                                        18 pursue this action and who have substantial class action experience, including
                                        19 particular experience in litigating Privacy Act claims.
                                        20        9.     My firm acted as co-counsel for the Class in this matter and was
                                        21 actively involved in all proceedings had herein. My firm’s work included evaluating
                                        22 and filing this case. We researched and investigated the claims asserted both
                                        23 factually and legally before filing. We participated in an early meeting with Defense
                                        24 counsel pursuant to Rule 26. We drafted written discovery to serve on Defendants
                                        25 and third parties, reviewed the responses thereto, and met and conferred in order to
                                        26 obtain satisfactory responses. Along with our co-counsel, the Law Offices of
                                        27 Kenneth M. Lipton, my firm was actively engaged in document review assignments.
                                        28 We also met with Plaintiff Stone and worked with him on this project, and further
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                                         1 prepared him and represented him at his deposition. We took a major role in drafting
                                         2 all documents ultimately filed on behalf of the Plaintiff. Moreover, my firm engaged
                                         3 in substantial work researching, preparing and drafting oppositions to Defendant
                                         4 HJI’s motions to dismiss and strike. My firm took the lead in drafting the mediation
                                         5 brief and the mediation, which ultimately resulted in the proposed settlement of this
                                         6 matter, as well as in negotiating and finalizing the terms of the Settlement
                                         7 Agreement, drafting the settlement documents and the motion for preliminary
                                         8 approval. It is respectfully submitted that all this work contributed to the beneficial
                                         9 result reached for the Class herein.
                                        10        10.    Further, even after the parties executed the Settlement Agreement, my
                                        11 firm continued to work diligently on this case, monitoring the Claims Administrator
                                        12 and identifying and dealing with a series of issues related to the notice and claims
            Beverly Hills, California
KIESEL LAW LLP




                                        13 process. My firm and Class Counsel ensured that the notice plan was properly
               Attorneys at Law




                                        14 disseminated to the Class Members and that Class Members could exercise their
                                        15 rights thereunder. Finally, Kiesel Law LLP took the laboring oar on the instant
                                        16 Motions for Final Approval of Class Settlement and for Attorneys’ Fees, Costs, and
                                        17 Service Payment.
                                        18        11.    After the filing of the instant Motions, Class Counsel will spend
                                        19 additional time responding to Class Member communications and objections (if
                                        20 any), continuing to supervise the claims process, and preparing for and attending the
                                        21 Fairness Hearing on November 30, 2015.
                                        22        12.    Throughout the course of this litigation, Plaintiff Loren Stone has been
                                        23 continuously involved and has remained in constant contact with Class Counsel with
                                        24 respect to matters pertaining to this case. He took the time to learn the
                                        25 responsibilities of a class representative, and he indicated his willingness to pursue
                                        26 this case not only on his own behalf, but on behalf of the Class. Mr. Stone was
                                        27 available throughout the litigation and met with Counsel, in-person, to prepare for
                                        28 his deposition. His deposition required him to take time off of work. He also
                                                                                       3      DECLARATION OF MATTHEW A. YOUNG
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                                         1 searched for relevant documents, and he telephonically participated in the all-day
                                         2 mediation of this lawsuit, as well as reviewed the class notice.
                                         3         13.   Attached hereto as Exhibit 3 is a detailed schedule indicating the
                                         4 amount of time spent by the attorneys of my firm who were involved in this
                                         5 litigation, and the lodestar calculation based on my firm’s current billing rates. The
                                         6 schedule was prepared from contemporaneous, daily time records regularly prepared
                                         7 and maintained by my firm, which are available at the request of the Court. Time
                                         8 expended in preparing the instant motions has not been included. Work performed
                                         9 by the firm’s support staff, amounting to over 100 hours, likewise has not been
                                        10 included.
                                        11         14.   The hourly rates for the attorneys in my firm are the same as the regular
                                        12 current rates charged for their services in non-contingent matters and which have
            Beverly Hills, California
KIESEL LAW LLP




                                        13 been accepted and approved in other class action litigation, including cases in the
               Attorneys at Law




                                        14 Central District of California. See, e.g., Nader v. Capital One Bank (USA), N.A.,
                                        15 Case No. 12-cv-01265-DSF-RZ (C.D. Cal.); Mount v. Wells Fargo Bank, N.A.,
                                        16 California Superior Court, Los Angeles County, Case No. BC395959 (“Mount
                                        17 action”); Greenberg v. E-TRADE Fin. Corp., California Superior Court, Los
                                        18 Angeles County, Case No. BC360102; Raymond v. CarsDirect.com Inc., California
                                        19 Superior Court, Los Angeles County, Case No. BC256282. Furthermore, my firm
                                        20 charges rates commensurate with the prevailing market rates for attorneys of
                                        21 comparable experience and skill handling complex litigation and, in this case, made
                                        22 all reasonable attempts to assign tasks to timekeepers at the appropriate billing rates.
                                        23         15.   As of August 14, 2015, the total number of hours expended on this
                                        24 litigation by my firm’s attorneys is 844.3 hours. The total lodestar for my firm is
                                        25 $419,640.00.
                                        26         16.   My firm’s lodestar figures are based upon the firm’s billing rates,
                                        27 which do not include charges for expense items. Expense items are billed separately
                                        28 and such charges are not duplicated in my firm’s billing rates.
                                                                                        4      DECLARATION OF MATTHEW A. YOUNG
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                                         1         17.   Attached hereto as Exhibit 4 is a schedule of expenses incurred by my
                                         2 firm. As of August 14, 2015, my firm, individually, has incurred a total of
                                         3 $12,822.67 in unreimbursed out-of-pocket expenses in connection with the
                                         4 prosecution of this litigation, which were advanced with no promise of repayment.
                                         5         18.   The expenses incurred in this action are reflected on the books and
                                         6 records of my firm. These books and records are prepared from expense vouchers,
                                         7 check records, and other source materials and represent an accurate recordation of
                                         8 the expenses incurred. These expenses were reasonable and necessary to achieve the
                                         9 successful result reached in this case.
                                        10         19.   Class Counsel have carefully considered the proposed cy pres remedy
                                        11 and the goal in formulating this proposal was to make a grant to an organization that
                                        12 represents the privacy interests of consumers. The proposed cy pres recipient –
            Beverly Hills, California
KIESEL LAW LLP




                                        13 namely, the Privacy Rights Clearinghouse – seeks funds to support and maintain
               Attorneys at Law




                                        14 long-term projects that will provide substantial benefits and a variety of services to
                                        15 consumers. Thus, the proposed cy pres remedy will provide indirect benefits to
                                        16 absent Class Members and those people who in the future are anticipated to have
                                        17 similar interests to the members of the present Class – to be free from invasion of
                                        18 their privacy. Neither my firm nor I have any interests or involvement in the
                                        19 governance or work of the proposed cy pres recipients. That said, I believe the
                                        20 Privacy Rights Clearinghouse is a reasonable cy pres recipient because of the work
                                        21 it performs in the privacy arena.
                                        22 / / /
                                        23 / / /
                                        24 / / /
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                                                                                      5      DECLARATION OF MATTHEW A. YOUNG
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                                        1        20.    Attached hereto as Exhibit 5 is a true and correct copy of a document
                                        2 titled “Declaration of Privacy Rights Clearinghouse” which was provided to my
                                        3 firm by Beth Givens, Executive Director of the Privacy Rights Clearinghouse.
                                        4        I declare under penalty of perjury, under the laws of the State of California
                                        5 and the United States of America, that the foregoing is true and correct.
                                        6        Executed on September 11, 2015 at Beverly Hills, California.
                                        7
                                        8
                                                                                     Matthew A. Young
                                        9
                                        10
                                        11
                                        12
            Beverly Hills, California
KIESEL LAW LLP




                                        13
               Attorneys at Law




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                                                                                     6      DECLARATION OF MATTHEW A. YOUNG
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                               Kiesel Law LLP

      STONE v. HOWARD JOHNSON INTERNATIONAL, INC.

           FEE REPORT – Inception through August 14, 2015
  NAME                    TOTAL HOURS        HOURLY RATE        LODESTAR
  Partners
  Paul R. Kiesel                      18.2          $1,100.00      $20,020.00
  Jeffrey A. Koncius                 360.3            $625.00     $225,187.50
  Thom Peters                          0.5            $625.00         $312.50

  Associates
  Matthew Young                      410.5            $375.00     $153,937.50
  Mariana Aroditis                     1.5            $375.00         $562.50
  Shehnaz Bhujwala                    36.3            $375.00      $13,612.50
  Glenn Anaiscourt                     2.6            $375.00         $975.00
  Tiffany Howard                       2.0            $350.00         $700.00
  Linna Chen                          12.1            $350.00       $4,235.00
  Lee Ackerman                         0.1            $325.00          $32.50
  Maria Weitz                          0.2            $325.00          $65.00

  TOTAL                              844.3                        $419,640.00




                                                                        Exhibit
                                                                           96   3
                                                                         Page 40
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                             Exhibit 5-4
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     1   Barrett S. Litt, SBN 45527
         blitt@kmbllaw.com
     2
         Kaye, McLane, Bednarski & Litt, LLP
     3   975 East Green Street
     4   Pasadena, California 91106
         Telephone: (626) 844-7660
     5   Facsimile: (626) 844-7670
     6
         Anne Richardson, SBN 151541
     7   arichardson@publiccounsel.org
     8   Stephanie Carroll SBN 263698
         scarroll@publiccounsel.org
     9   PUBLIC COUNSEL
    10   610 South Ardmore Avenue
         Los Angeles, California 90005
    11
         Telephone: (213) 385-2977
    12   Facsimile: (213) 385-9089
    13
         Attorneys for Plaintiffs
    14   MICHAEL NOZZI, et al.
    15
                             UNITED STATES DISTRICT COURT
    16
    17                     CENTRAL DISTRICT OF CALIFORNIA
    18   MICHAEL NOZZI, et al.,                    Case No. 2:07-cv-00380-PA-FFM)
    19
                     Plaintiff,                    [Honorable Percy Anderson]
    20
    21          v.                                 DECLARATION OF BARRETT S.
                                                   LITT IN SUPPORT OF
    22                                             PLAINTIFFS’ MOTION FOR
         HOUSING AUTHORITY OF THE                  FINAL APPROVAL OF
    23   CITY OF LOS ANGELES, et al.,              SETTLEMENT

    24                                             Date:     January 29, 2018
                     Defendants.                   Time:     1:30 P.M.
    25                                             Place:    Courtroom 9A
    26
    27
    28



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     1                       DECLARATION OF BARRETT S. LITT
     2         I, Barrett S. Litt, declare as follows:
     3         1.     I am an attorney duly licensed to practice law in the State of
     4
         California. This declaration is submitted in support of Plaintiffs’ Motion for Fees
     5
         and Costs. The facts set forth herein are within my personal knowledge or
     6
         knowledge gained from review of the pertinent documents. If called upon, I could
     7
         and would testify competently thereto. I provide this Declaration in support of
     8
         Plaintiffs’ motion for an award of attorneys’ fees and costs.
     9
         I.    FACTS REGARDING INCENTIVE AWARDS SOUGHT IN THE
    10         MOTION FOR FINAL APPROVAL OF SETTLEMENT
    11         2.     The settlement provides a slight benefit to the sole class
    12   representative, Nidia Pelaez ($5000 in addition to the amount to which she would
    13   be entitled as a class member under the Agreement). Ms. Pelaez was actively
    14   involved in the case throughout, provided a declaration in support of the motion
    15   for class certification, acted as the sole class representative. While she was never
    16   deposed, she was available to be deposed and was interviewed by class counsel
    17   on several occasions in connection with the litigation.
    18         3.     The settlement also provides a $1,000 total award to Michael Nozzi.
    19   Because Mr. Nozzi moved to a less expensive unit within days of the date that his
    20   damages began to run (as of which time his rental differential damages
    21   terminated), his claim for rental differential damages is only a few dollars.
    22   Although he was not active in the later phase of this ten year case, he was
    23   instrumental in its initiation, as it was he who approached Public Counsel about
    24   the Voucher Payment Standard notice. In the early stages of development of the
    25   case, he was the only tenant client. Without him, there may have been no case, as
    26   Ms. Pelaez came forward later. While he was not as instrumental overall as Ms.
    27   Pelaez, he nonetheless was key to the case. No itemization of his damages has
    28   been provided, but he did incur moving costs, personal effort assisting the

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     1   litigation in its initial stages and a constitutional injury whose value is difficult to
     2   assess. $1,000 is a reasonable amount for him in light of all of these factors.
     3          4.     No advance agreement was ever reached with either of them that an
     4   incentive award would be sought on their behalf if the case settled. The issue
     5   arose only after settlement in principle was reached, and was at Class Counsel’s
     6   initiative.
     7   II.    FINAL SIZE OF THE CLASS FUND
     8          5.     Plaintiffs’ counsel and defense counsel have conferred and agreed
     9   that the final figure available from the primary insurer is $8,933,256.47.1 Thus,
    10   the size of the Class Fund is $9,339,256.47. See ¶ 6 of Settlement Agreement,
    11   defining “Class Fund”. (Although the claims did not exhaust the available funds
    12   under the Settlement Agreement’s terms, the final Class Fund size is relevant and
    13   necessary because the request for attorney’s fees is based on a percentage of the
    14   available Class Fund, as finally determined after payment of all defense fees and
    15   costs.)
    16   III.   TOTAL CLAIMS, OBJECTIONS AND OPT-OUTS
    17          6.     The settlement provided for the Class Administrator to mail notice to
    18   all class members, as well as to publish notice, and provided class members the
    19   opportunity to object or opt out. As the accompanying Declaration of Jennifer M.
    20   Keogh from JND Legal Administration attests, notice was sent out on the
    21   scheduled ordered in the Preliminary Approval Order, on August 9, 2017, in
    22   compliance with the scheduled ordered in the Preliminary Approval Order; a
    23   summary notice was published in the Los Angeles Times for three consecutive
    24   weeks, beginning August 18, 2017; address searches were done for returned mail;
    25
    26
         1
           Defense counsel provided me with the total defense costs to date, and we agreed to add
    27   $20,000 to cover remaining defense fees and costs in order to determine the final size of
    28   the Class Fund. The fees and costs to date are $1,640,743.53. With the $20,000 added,
         the figure is $1,660,743.53.

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     1   and new claim forms were sent; a total of 2,259 valid claim forms were filed on
     2   or before December 6, 2017, with a total face value of $2,218,075.26; there were
     3   no objections. 2 Sixty three (63) claim forms have been denied as duplicative. An
     4   additional six claim forms were received as of December 18 with postmarks dated
     5   after December 6. Five hundred forty-five (545) Claims Forms were submitted by
     6   individuals who do not appear on the Class List. Seventy Claim Forms were
     7   missing signatures or other required information and were deemed deficient;
     8   deficiency notices will be sent to them
     9         7.      Although there was one initial objection, attached as Exhibit 1, it
    10   was withdrawn after Plaintiffs’ counsel spoke with the objector and explained that
    11   the content of his objection was unrelated to the settlement. See Declaration of
    12   Maria Cabados, ¶ 4; Exhibit 2 (original objection); Exhibit 3 (Withdrawal of
    13   Objection).
    14         8.      There was a total of eight opt-outs (collectively attached as Exhibit
    15   4). None of the opt-outs expressed dissatisfaction with the settlement.
    16   IV.   ADDITIONAL FACTS SINCE FILING OF MOTION FOR
    17         ATTORNEYS’ FEES REGARDING LODESTAR CROSS CHECK
               AND COSTS
    18
               9.      Plaintiffs filed the motion for attorneys’ fees on September 18, 2017,
    19
         as required by this Court’s Preliminary Approval Order. That motion provided
    20
         lodestar cross-check information through August 31, 2017. The charts below
    21
         summarize the additional lodestar information since that time, with a subsequent
    22
    23
    24
         2
           One objection, from Charles Jackson, was initially filed. Upon review of that objection,
    25   it was clear that the class member was not objecting to the settlement but separate
    26   treatment by HACLA. As a result, a representative of Plaintiffs’ Counsel contacted Mr.
         Jackson to explain why the settlement was unrelated to the concerns expressed in his
    27   objection, and inquire if he still wanted to maintain his objection. Mr. Jackson then
    28   withdrew his objection. See Dkt. 320 (withdrawal of objection); Declaration of Maria
         Cabadas.

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     1   set of charts providing the total through December 19, 2017. Plaintiffs estimate
     2   that in the range of an additional 30-50 hours will be spent through Final approval
     3   and entry of judgment. Id.
     4          LITT FIRM HOURS BETWEEN SEPTEMBER 1-DECEMBER 19, 20173
     5       Biller          Position  Grad Yr Rate  Hours Total
             Barrett S. Litt Attorney  1969    $1150 66.1  $76,015.00
     6       Pat Dunlevy     Attorney  1992    $750  4.0   $3,000.00
     7       Julia White     Sr.               $335  29.2  $9.782.00
                             Paralegal
     8       TOTAL                                   99.3  $88,797.00
     9
    10       PUBLIC COUNSEL TIME BETWEEN SEPTEMBER 1-DECEMBER 20, 2017
    11        Biller        Position  Grad Yr Rate Hours Total
              Anne          Attorney  1989    $850 6.2   $5,270.00
    12        Richardson
    13        Stephanie     Attorney  2004    $640 18.6  $11,904.00
              Carroll
    14        Maria Cabadas Paralegal         $190 49.5  $9,405.00
    15       TOTAL                                                 74.3        $26,579.00
    16
    17           10.   A summary of the full attorneys’ fees lodestar through December 19,
    18   2017 for both firms is contained in the following charts:
    19        LITT FIRM LODESTAR FROM INCEPTION THROUGH DECEMBER 19,
    20                                      2017
             Biller          Position  Grad Yr Rate     Hours  Total
    21       Barrett S. Litt Attorney  1969      $1,150 1257.1 $1,445,665.00
    22       Pat Dunlevy     Attorney  1992      $750   330.8  $248,100.00
             Paul Estuar     Attorney  1993      $765   519.4  $397,341.00
    23       Paul Hughes     Attorney  2008      $730   60     $43,800.00
    24       Julia White     Sr.
                             Paralegal           $335   541.2  $181,302.00
    25
    26
    27   3
           The fee details and summaries attached as Exhibits 5 and 6 for this time period (see
    28   include .5 hours for paralegal Marie Bolanos; this time has been eliminated from this
         chart in an exercise of billing judgment.

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     1      LITT FIRM LODESTAR FROM INCEPTION THROUGH DECEMBER 19,
     2                                      2017
           Biller        Position      Grad Yr Rate   Hours  Total
     3     Miguel        Jr. Paralegal                42.3
     4     Villafuerte                           $150        $6,345.00
           Charla Gray   Law Clerk               $200 40.1   $8,020.00
     5     James Debergh Law Clerk               $200 27.2   $5,440.00
     6     Jonathan Dale Law Clerk               $200 29.5   $5,900.00
           TOTAL                                      2869.8 $2,2,35533.00
     7
     8           PUBLIC COUNSE LODESTAR FROM INCEPTION THROUGH
                                     DECEMBER 19, 2017
     9     Biller         Position     Grad Yr Rate    Hours  Total
    10     Anne           Attorney     1989            1257.1
           Richardson                           $1,150        $1,445,665.00
    11     Pat Dunlevy    Attorney     1992     $200   40.1   $8,020.00
    12     Lisa Jaskol    Attorney     1988     $750   330.8  $248,100.00
           Hernán Vera    Attorney     1994     $765   519.4  $397,341.00
    13     Stephanie
           Carroll        Attorney     2004     $730   60     $43,800.00
    14
           Adelaide
    15     Anderson       Attorney     2010     $335   541.2  $181,302.00
           Jackie Chidiac Paralegal             $150   42.3   $6,345.00
    16
                          Litigation
    17     Maria Cabadas Coordinator            $200   27.2   $5,440.00
           TOTAL                                       1670.8 $1,108,872.00
    18
    19         11.    Attached as Exhibits 5 and 6 are the detail and summaries of the post
    20   August 31, 2017 fees and costs for the two Litt firms. The detail and summaries
    21   of the post August 31, 2017 fees and costs for Public Counsel are attached to the
    22   Declaration of Anne Richardson.
    23         12.    Based on the final size of the Class Fund of $ 9,339,256.47, and
    24   Plaintiffs’ request for an attorneys’ fee award (before deduction of costs) of 30%,
    25   Plaintiffs request an attorneys’ fee award of $2,801,776.941.
    26
               13.    Additional costs since August 31, 2017, are contained in the
    27
         following post August 31, 2017 chart:
    28


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     1
           1459 – Litt Firm Nozzi Costs Summary From 9/1/2017-12/19, 2017
     2              Cost Item                       Amount
     3     E106-Research                           $1,053.42
           E107-Delivery                             $49.50
     4
           E119-Experts                             $513.00
     5     E145-PrintAudit                          $529.35
     6     Total:                                  $2,145.27
     7         14.    The total final Litt firm costs are shown in the following chart.

     8         Litt Firm Nozzi Total Costs Summary Through 12/19/17
     9              Cost Item                        Amount
           E101-Copy                                 $699.96
    10
           E102-Print                               $1,461.39
    11     E104-Fax                                   $60.50
    12     E105-Phone                                $143.32
           E106-Research                           $17,094.02
    13     E107-Delivery                            $3,115.33
    14     E108-Postage                               $81.71
           E109-LocTravel                             $13.92
    15
           E112-FeesCrt                              $350.00
    16     E115-Depo                               $1,760.18
    17     E118-LitSup                               $104.76
           E119-Experts                           $118,430.50
    18     E121-Arb/Medi                           $18,000.00
    19     E134-Parking                              $282.50
           E145-PrintAudit                          $4,987.85
    20
           E146-Scans                                $976.74
    21     E148-Conf.call                            $491.83
    22                Total:                      $168,054.51

    23         15.    As was explained in the attorneys’ fee motion, Public Counsel had

    24   costs previously submitted in the amount of $1,441.37. Including costs since

    25   September 1, it has incurred total costs as indicated in the following chart.

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     1
                      Expense Description                   Amount
     2
                      Photocopies                           $ 202.10
     3
                      Deposition costs                      $ 602.30
     4
                      Mileage/Parking                       $ 392.29
     5
                      Phone                                 $    1.15
     6
     7                Postage                               $ 243.53

     8                Outreach Flyer/Poster                 $ 204.00
     9                TOTAL                                 $1,645.37
    10
               16.   The combined total costs for both firms is $169,699.88. Plaintiffs
    11
         request a cost award in that amount.
    12
               I declare, under penalty of perjury, that the foregoing is true and correct.
    13
               Executed at Pasadena, California on December 22, 2017.
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   18                          UNITED STATES DISTRICT COURT
   19                       CENTRAL DISTRICT OF CALIFORNIA
                                                 No. 2:15-cv-08982 GW (RAOx)
   20   Housing Works, Independent Living
        Center of Southern California, Inc., and Hon. George H. Wu
   21   Timothy Laraway,
                                                 PLAINTIFFS HOUSING WORKS
   22                      Plaintiffs,           AND INDEPENDENT LIVING
                                                 CENTER OF SOUTHERN
   23         v.                                 CALIFORNIA’S NOTICE OF
                                                 MOTION AND MOTION FOR
   24   County of Los Angeles, County of         ATTORNEYS’ FEES AND COSTS
        Los Angeles Board of Supervisors, and    IN AN AMOUNT SPECIFIED;
   25   Los Angeles County Department of         MEMORANDUM OF POINTS AND
        Public Social Services,                  AUTHORITIES
   26
                            Defendants.                  Hearing Date: July 12, 2018
   27                                                    Time: 8:30 a.m.
                                                         Courtroom: 9D
   28                                                    Action Filed: November 18, 2015
                                                         Discovery Cut-off: October 27, 2017
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    1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2          PLEASE TAKE NOTICE that on Thursday, July 12, 2018, at 8:30 a.m. or
    3   as soon thereafter as the matter may be heard, in Courtroom 9D, United States
    4   District Court for the Central District of California, located at 350 West 1st Street,
    5   Los Angeles, California, Plaintiffs Housing Works and Independent Living Center
    6   of Southern California, Inc. (“Plaintiffs”) will move the Court for an order
    7   awarding Plaintiffs attorneys’ fees and costs pursuant to California Code of Civil
    8   Procedure § 1021.5, in the lodestar amount of $3,966,426.65 plus a 1.5 multiplier
    9   applied to work on the merits for services rendered through November 13, 2017;
   10   plus $82,020.13 in costs; plus compensation for time necessarily spent from April
   11   28, 2018 through the hearing on this motion.
   12          The Motion is made on the grounds that this Court has already held that
   13   Plaintiffs are entitled to a fee award under § 1021.5, and as more fully described
   14   below, the amount sought is reasonable.
   15          The Motion is based upon this notice, the Declarations of Yolanda Arias,
   16   Charles Barquist, Grace Carter, David Elson, Barrett Litt, Robert Newman,
   17   Shawna Parks, Richard Pearl, Anne Richardson, Anna Rivera, Carol Sobel, and
   18   Dan Stormer, and the exhibits attached thereto; and the attached memorandum of
   19   points and authorities, the pleadings and records on file in this action, including in
   20   particular all of the declarations, exhibits and memoranda of points and authorities
   21   previously filed in support of Plaintiffs’ previous Motion for Attorneys’ Fees, and
   22   the reply papers filed in support. ECF 131 through 131-28; 134 through 134-3.
   23          Pursuant to Local Rule 7-3, Plaintiffs did discuss possible resolution of this
   24   motion after the April 5, 2018 hearing, at which hearing the Court set the briefing
   25   schedule. Decl. of Robert D. Newman ¶ 58. The parties were unable to resolve
   26   the matter prior to the filing of this motion.
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    1
        Dated: May 3, 2018                         Respectfully submitted,
    2
                                                   LEGAL AID FOUNDATION OF
    3                                              LOS ANGELES
    4                                              By: /s/ Claudia Menjivar
                                                        Claudia Menjivar
    5
                                                   WESTERN CENTER ON LAW AND
    6                                              POVERTY
    7                                              By: /s/ Robert D. Newman
                                                       Robert D. Newman
    8
                                                   MORRISON & FOERSTER LLP
    9
                                                   By: /s/ Charles S. Barquist
   10                                                  Charles S. Barquist
   11                                              PUBLIC COUNSEL
   12                                              By: /s/ Anne Richardson
                                                       Anne Richardson
   13
                                                   DISABILITY RIGHTS LEGAL
   14                                              CENTER
   15                                              By: /s/ Anna Rivera
   16                                                  Anna Rivera

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    1                                      INTRODUCTION
    2          This lawsuit erased barriers that had prevented individuals with mental and
    3   intellectual disabilities from obtaining survival General Relief benefits. As a
    4   result, thousands of the most vulnerable people in Los Angeles County now have a
    5   greater opportunity to put food on their tables and a roof over their heads.
    6          Achieving this result required monumental and time–consuming work from
    7   Plaintiffs’ counsel. They were required to investigate and analyze a baffling 11-
    8   step GR application process as applied to 14 different offices, affecting applicants
    9   with a variety of distinct mental and intellectual disabilities. They sifted through
   10   tens of thousands of pages of documents, interviewed numerous General Relief
   11   applicants and participants and social services providers, and both took and
   12   responded to extensive discovery. They litigated first-impression legal issues,
   13   writing major briefs in opposition to summary judgment, in favor of preliminary
   14   relief, regarding mediation during the eight month settlement process, regarding
   15   voluntary dismissal of their claims without prejudice, and in support of entitlement
   16   to attorneys’ fees. And they made substantial efforts to settle the case, with four
   17   mediations and five-in-person direct negotiations, resulting in a complex
   18   agreement which the County then inexplicably rejected (though it nevertheless
   19   implemented the major relief sought in the lawsuit).
   20          This Court has already held that Plaintiffs are entitled to an attorneys’ fees
   21   award under California Code of Civil Procedure § 1021.5. See Tentative Ruling on
   22   Initial Phase of Plaintiffs’ Motion for Attorneys’ Fees, ECF 137. Accordingly, all
   23   that remains is to determine the amount. Plaintiffs seek a lodestar award of
   24   $3,966,426.65, augmented by a 1.5 multiplier applied to work on the merits, or
   25   whatever multiplier the Court deems appropriate.
   26          The number of hours claimed is reasonable, particularly in light of Plaintiffs’
   27   voluntary billing judgment reductions, which include:
   28
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    1          1) deducting time sought for any attorney or other personnel who spent less
    2   than 20 hours on the case, and hundreds of hours of law clerk time;
    3          2) only billing for a maximum of two attorneys at any court hearing, status
    4   conference, or deposition;
    5          3) only billing for a maximum of 10% of time spent in team conference calls
    6   and in-person meetings where counsel worked on strategy, dividing up labor, and
    7   the like;
    8          4) taking an overall 5% reduction of the remaining fees after the above
    9   reductions in order to eliminate any potential unproductive or duplicative time;
   10          5) deducting time spent exclusively on substantive relief which counsel did
   11   not obtain; and
   12          6) an additional 15% reduction for not securing every remedy sought in the
   13   litigation.
   14          The remaining hours claimed are reasonable, particularly in light of the
   15   novelty and difficulty of the issues litigated and negotiated and the County’s
   16   uncooperative and litigious response to Plaintiffs’ attempts to resolve the matter
   17   informally, both before they filed the lawsuit and after the County rejected the
   18   tentative settlement that was hammered out over the course of eight months. The
   19   government “cannot litigate tenaciously and then be heard to complain about the
   20   time necessarily spent by the plaintiff in response.” Serrano v. Unruh, 32 Cal. 3d
   21   621, 638 (1982) (citation omitted).
   22          The hourly rates claimed are reasonable as well. For work performed by
   23   Morrison & Foerster attorneys, Plaintiffs are seeking compensation at the actual
   24   rate the firm charges its fee-paying clients. For the attorneys employed by non-
   25   profit legal services and public interest programs, the hourly rates Plaintiffs seek
   26   are within the range of fees that comparably experienced private attorneys charge
   27   their fee-paying clients in the Los Angeles area for comparable work. See
   28   Declarations of Barrett S. Litt, Richard Pearl, Carol Sobel, Dan Stormer, Shawna
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     1   Parks, Grace Carter, and David Elson, filed concurrently herewith.
     2          Plaintiffs additionally request that the Court augment the lodestar with a 1.5
     3   multiplier to reflect “the contingent nature of the fee award, both from the point of
     4   view of eventual victory on the merits and the point of view of establishing
     5   eligibility for an award . . . .” Serrano v. Priest, 20 Cal. 3d 25, 49 (1977). The
     6   California Supreme Court has expressly approved contingency multipliers,
     7   reasoning that a “lawyer who both bears the risk of not being paid and provides
     8   legal services is not receiving the fair market value of his work if he is paid only
     9   for the second of these functions.” Ketchum v. Moses, 24 Cal. 4th 1122, 1133
    10   (2001) (citation omitted).
    11                                         ARGUMENT
    12   I.     State law applies to the calculation of the attorneys’ fee award.
    13          In Mangold v. California Public Utilities Comm’n, 67 F.3d 1470, 1478 (9th
    14   Cir. 1995), the court held that where the plaintiffs prevail in federal court on a state
    15   law claim, “Ninth Circuit precedent has applied state law in determining not only
    16   the right to fees, but also in the method of calculating the fees.”
    17   II.    The lodestar amount sought is reasonable.
    18          The starting point for determining the appropriate amount of fees is the
    19   lodestar: a “careful compilation of the time spent and reasonable hourly
    20   compensation of each attorney . . . involved in the presentation of the case.”
    21   Ketchum, 24 Cal. 4th at 1131-32 (citation omitted). Plaintiffs’ lodestar after the
    22   exercise of billing judgment and further voluntary reductions (§ I.C below) is
    23   $3,966,426.65, as illustrated in Table 1 attached as part of Exhibit 1.
    24          A.    Plaintiffs’ attorneys are entitled to a fully compensatory fee.
    25          The “fundamental objective” of § 1021.5 is “to encourage suits effectuating
    26   a strong [public] policy by awarding substantial attorney's fees . . . to those who
    27   successfully bring such suits and thereby bring about benefits to a broad class of
    28   citizens.” Woodland Hills Residents Assn. v. City Council, 23 Cal. 3d 917, 933
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     1   (1978) (citation omitted). To accomplish that purpose, “attorney fee awards under
     2   section 1021.5 ‘should be fully compensatory’ . . . .” Ctr. for Biological Diversity
     3   v. Cty. of San Bernardino, 185 Cal. App. 4th 866, 897 (2010) (citation omitted).
     4            Plaintiffs did not bring this suit for financial gain, but rather to reform the
     5   way that the County makes accessible its General Relief benefits for those with
     6   mental and developmental disabilities. While Plaintiffs did not obtain all the relief
     7   that they sought, they did obtain relief that resulted in no fewer than 13 policy
     8   changes or updates within the Department of Public Social Services in the ten
     9   months between August 2016 and June, 2017, plus additional changes to the
    10   training of DPSS staff. See ECF 131-3 through 131-26, Menjivar Decl. Exs. C
    11   through S; see also Section I.C below for discussion of the partial success issue.
    12   Counsel are entitled to a fully compensatory fee award.
    13            B.      The hours claimed are reasonable.
    14            The hours claimed by this motion are all compensable. To begin with, the
    15   hours are well documented. They are based on contemporaneous time records of
    16   the work performed by each of the attorneys and paralegals who worked on the
    17   case.1
    18            Plaintiffs are not seeking compensation for nearly all of the hours spent on
    19   the case. Both individual attorneys and their supervisors exercised considerable
    20   billing judgment. Among the billing judgment reductions:
    21                  Plaintiffs are not seeking compensation for the many attorneys who
    22                    worked fewer than 20 hours on the case;2
    23            1
                 Western Center on Law and Poverty records are attached as exhibits to the
    24   declaration of Robert Newman, Morrison & Foerster records to the declaration of
         Charles Barquist, Legal Aid Foundation of Los Angeles time to the declaration of
    25   Claudia Menjivar, Public Counsel’s time to the declaration of Anne Richardson,
         and Disability Rights Legal Center’s time to the declaration of Anna Rivera.
    26            2
                For billing judgment exercised by each firm, see Decls. of Newman ¶¶ 53-
    27   54; Barquist ¶¶ 6-8; Arias ¶¶ 25, 28-29; Richardson ¶¶ 18-20; and Rivera ¶¶ 35-40.
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     1                 Plaintiffs are not billing for law clerk time, which totaled hundreds of
     2                   hours ;
     3                 Plaintiffs are not billing for more than two attorneys at any court
     4                   hearing or deposition;
     5                 Plaintiffs have reduced their claim for time spent on team conference
     6                   calls and in-person meetings to discuss strategy and divide
     7                   responsibilities so that this conferencing time is limited to 10% of total
     8                   attorney time. Cf. City of Riverside v. Rivera, 477 U.S. 561, 565, 573,
     9                   n.6 (1986) (affirming district court’s refusal to reduce compensation
    10                   for 197 hours of conversation between counsel out of 1,946.75 total
    11                   hours).
    12          In addition, to compensate for any remaining arguably duplicative or
    13   unproductive hours, Plaintiffs propose a voluntary 5% across-the-board reduction.
    14   See Davis v. City and County of San Francisco, 976 F.2d 1536, 1543 (9th Cir.
    15   1992) (voluntary 5% reduction “more than compensated for the time challenged by
    16   the [defendant] as improperly billed, rendering a further reduction in the lodestar
    17   amount unnecessary.”), vacated on other grounds, 984 F.2d 345 (9th Cir. 1993).
    18          Finally, as will be discussed in § 1.C below, Plaintiffs propose further
    19   voluntary reductions to account for not securing all the relief sought in the case. In
    20   all, Plaintiffs have reduced their claim by well over a million dollars.
    21          The remaining hours should be compensated. “Where a plaintiff has
    22   obtained excellent results, his attorney should recover a fully compensatory fee.
    23   Normally, this will encompass all hours reasonably expended on the litigation . . .
    24   .” Hogar v. Cmty. Dev. Comm’n of City of Escondido, 157 Cal. App. 4th 1358,
    25   1369 (2007) (citation omitted).
    26          The litigation was daunting from the outset. The County has designated 14
    27   separate offices to receive and process the 16,500 monthly GR applications. The
    28   application process consisted of no fewer than 11 different steps. Plaintiffs’
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     1   counsel had to investigate the policies and practices in each of these offices, and
     2   each of these 11 steps, to determine what barriers existed for GR applicants and
     3   participants with a variety of distinct mental disabilities. Newman Decl. ¶¶ 5-7.
     4          That task was made more difficult by the lack of available data. Public
     5   Records Act and document requests revealed that the County reportedly did not
     6   have studies on such important questions as the prevalence of mental illness among
     7   GR applicants or the number of requests for reasonable modifications of GR
     8   program requirements. Id. ¶ 8.
     9          Nor was it a simple task to gather anecdotal evidence. Understandably,
    10   homeless mentally disabled individuals were reluctant to talk to strangers, and the
    11   circumstances of their lives made it nearly impossible to maintain contact and
    12   obtain declarations. It was also difficult to gather declarations from social services
    13   providers because many of them received funding and other support from the
    14   County and feared retribution. Id. ¶¶ 9-10. Nonetheless, counsel interviewed
    15   numerous witnesses and gathered declarations.
    16          The legal issues were difficult as well. This was a case of first impression
    17   requiring extensive legal research. Because there were no regulations or published
    18   opinions directly on point governing access of persons with mental and intellectual
    19   disabilities to governmental programs such as General Relief, counsel had to
    20   research and brief extensively the issue of reasonable access in this context and to
    21   reach out to experts around the country to discuss appropriate relief. Finally, the
    22   County hired a major law firm with a nationally renowned expert in defending
    23   against disability discrimination suits. Id. ¶¶ 11-12.
    24          The County fought doggedly at every turn. After the filing of the lawsuit,
    25   the County allowed Plaintiffs to meet and confer about Plaintiffs’ anticipated
    26   motion for preliminary injunction, but then claimed to have changed their practice
    27   after the motion was filed. After the County inexplicably refused to approve the
    28   settlement hammered out over eight months’ time and four separate mediation
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     1   sessions with the Hon. Edward Infante (Ret.), the County refused to talk resolution
     2   of the remaining issues and instead litigated strenuously all the way to the end. For
     3   example, the County prosecuted extensive discovery requests, including taking
     4   seven depositions, and served three motions to compel directed to the subject of
     5   standing, even after this Court had indicated its views on organizational standing a
     6   year previously and after Plaintiffs had announced their intention to voluntarily
     7   dismiss. See Newman Decl. ¶ 13 for further examples.
     8          Responding to Defendants’ oppositions and lengthy discovery tactics was
     9   time-consuming. “Parties who litigate with no holds barred in cases such as this,
    10   in which the prevailing party is entitled to a fee award, assume the risk they will
    11   have to reimburse the excessive expenses they force upon their adversaries.”
    12   Stokus v. Marsh, 217 Cal. App. 3d 647, 653-54 (1990).
    13          The numbers tell some of the story of the work required by this litigation.
    14   Plaintiffs responded to 86 document requests and propounded 156 requests of their
    15   own. As a result, Plaintiffs produced 12,139 pages of documents. The County
    16   produced 7,867 documents totaling 87,829 pages, all of which had to be reviewed
    17   and organized. Newman Decl. ¶¶ 24-25. Plaintiffs prepared and responded to
    18   interrogatories; prepared requests for admission; and took nine depositions and
    19   defended seven, including one over two days. Plaintiffs’ counsel had ten court
    20   appearances; and wrote numerous major briefs. Id. ¶ 23. Counsel participated in
    21   ten settlement meetings before filing suit and, during the course of litigation, four
    22   mediation sessions with Judge Edward Infante (Ret.) and five direct sessions with
    23   the County. Id. ¶¶ 17, 29.
    24          Plaintiffs’ counsel divided their tasks efficiently. As described in detail in
    25   Mr. Newman’s declaration, counsel limited the number of participants for each
    26   task based on an evaluation of what was needed for the task and who had the
    27   relevant expertise. And each of the law firms representing Plaintiffs made unique
    28   contributions. Id. ¶¶ 30-31.
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     1          As authorized by California law, the hours claimed include time spent on the
     2   fee issue itself. Graham v. DaimlerChrysler Corp., 34 Cal. 4th 553, 580 (2004)
     3   (“it is well established that plaintiffs and their attorneys may recover attorney fees
     4   for fee-related matters.”). In this case, litigating the fee issue has required
     5   Plaintiffs’ counsel to respond to extensive discovery and to litigate discovery
     6   issues, as well as major briefing. These hours, as well as all the hours claimed as
     7   adjusted for billing judgment, are reasonable.
     8          C.    Because this litigation achieved excellent results for thousands of
                      mentally disabled General Relief applicants, only a modest
     9                reduction for limited success is justified.
    10          As this litigation made it possible for thousands of poor people with mental
    11   disabilities to secure subsistence benefits, only a modest lodestar reduction is
    12   warranted to account for incomplete success.
    13          In its April 2018 ruling on entitlement to fees, this Court stated that “[b]y
    14   way of guidance, [it] would not find that Plaintiffs were prevailing parties either
    15   procedurally or substantively as to all of the matters litigated in this case,” and
    16   requested delineation of the hours and activities engaged in by counsel. ECF 137
    17   at 18 n.7.
    18                1.      Procedural losses do not justify reductions.
    19          As for procedural setbacks, “[i]f a plaintiff ultimately wins on a particular
    20   claim, she is entitled to all attorney's fees reasonably expended in pursuing that
    21   claim—even though she may have suffered some adverse rulings.” Harman v.
    22   City & Cty. of San Francisco, 136 Cal. App. 4th 1279, 1311-12 (2006) (citing
    23   Cabrales v. Cty. of Los Angeles, 935 F.2d 1050, 1053 (9th Cir. 1991)) (allowing
    24   fees for unsuccessful opposition to petition for writ of certiorari). As the Cabrales
    25   court put it, “[r]are, indeed, is the litigant who doesn't lose some skirmishes on the
    26   way to winning the war.” Id.
    27          Notably, here, this Court issued a tentative ruling against Plaintiffs on their
    28   motion for preliminary injunction, but delayed ruling on their motion as well as
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     1   Defendant’s motion for summary judgment, to enable both sides to engage in
     2   settlement discussions. August 4, 2016 Transcript at 25:7-11. And Plaintiffs
     3   ultimately obtained the relief sought in the preliminary injunction: the opportunity
     4   for residents to apply for GR other than in person (by mail, fax, or electronically).
     5                2.      Plaintiffs have voluntarily reduced their claim for partial
                              success despite case law holding that no reductions are
     6                        necessary where all claims are related and overall success is
                              excellent.
     7
     8          As for the level of substantive success, where, as in this case, “a plaintiff has
     9   obtained excellent results, his attorney should recover a fully compensatory fee . . .
    10   . In these circumstances the fee award should not be reduced simply because the
    11   plaintiff failed to prevail on every contention raised in the lawsuit.” Hensley v.
    12   Eckerhart, 461 U.S. 424, 435 (1983).
    13          Rather, in such cases, California courts have adopted Hensley’s two-step
    14   approach. Envtl. Prot. Info. Ctr. v. Cal. Dep’t of Forestry & Fire Prot., 190 Cal.
    15   App. 4th 217, 239 (2010) [EPIC]. The “first step asks whether ‘the plaintiff
    16   fail[ed] to prevail on claims that were unrelated to the claims on which he
    17   succeeded[.]” Id. (citations omitted). Claims are unrelated if they are “based on
    18   different facts and legal theories . . . . Conversely, related claims ‘will involve a
    19   common core of facts or will be based on related legal theories.’” Id. (citations
    20   omitted) (emphases added).
    21          The relief Plaintiffs obtained and the remedies they were unable to secure
    22   were not merely based on “related legal theories.” All of their claims and all of
    23   their requests for relief stemmed from the identical legal theory: the County was
    24   violating state and federal statutes prohibiting discrimination against persons with
    25   disabilities. This alone qualifies all of Plaintiffs’ claims as being related.
    26          In addition, all of Plaintiffs’ claims stem from the same County course of
    27   conduct, notwithstanding differences in the remedies Plaintiffs sought. Hensley
    28   itself illustrates the distinction. There, the Court upheld a district court finding that
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     1   all of plaintiffs’ claims against conditions in a state hospital were related, reasoning
     2   that although the plaintiffs did not secure all the injunctive relief they sought, all of
     3   their claims concerned “the constitutional right to minimally adequate
     4   treatment . . . .” Hensley, 461 U.S. at 454.
     5          Similarly, this entire litigation concerned the County’s policies and
     6   procedures for General Relief applicants and participants that systematically
     7   excluded individuals with mental disabilities from participation in the program. As
     8   all of the claims centered on these policies and procedures, there was no reason for
     9   counsel to separate time spent on different remedial aspects of the case, and indeed
    10   most of the time the work spent by counsel was for multiple remedies.
    11          Nonetheless, in an exercise of billing judgment, Plaintiffs are not claiming
    12   for time spent solely on unsuccessful attempts to require the County to use a
    13   validated instrument to screen for mental disabilities. Thus, where feasible,
    14   Plaintiffs have deducted hours spent solely on that issue. See, e.g., Newman Decl.
    15   ¶ 53. In addition, Plaintiffs are not seeking compensation for time spent litigating
    16   on behalf of former Plaintiffs Tim Laraway and Catholic Worker, and settling Mr.
    17   Laraway’s claim. Id. No further reductions for unrelated unsuccessful claims are
    18   warranted although, as noted below, Plaintiffs have exercised additional billing
    19   judgment to take an additional 15% reduction.
    20          Under the second step of the Hensley test, the question is whether “the
    21   plaintiff achieve[d] a level of success that makes the hours reasonably expended a
    22   satisfactory basis for making a fee award. . . . In this step, the court will evaluate
    23   the significance of the overall relief obtained by the plaintiff in relation to the
    24   hours reasonably expended on the litigation.” EPIC, 190 Cal. App. 4th at 239
    25   (citations and internal quotation marks omitted).
    26          Plaintiffs achieved such a level of success. The Court previously agreed
    27   with Plaintiffs’ contention that the litigation resulted in “‛1) a remote application
    28   process that could be accessed off-site; 2) a simplification of the GR application
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     1   process; 3) same-day assessments by trained health professionals for designations
     2   of [NSA]; and 4) improved processes for providing reasonable accommodations to
     3   disabled GR applicants and participants.’” ECF 137 at 8. Indeed, starting in
     4   August 2016 with a policy implementing a new “mail-in” notice on the website,
     5   the County enacted a total of 13 new policies or policy “updates” regarding
     6   increasing accessibility to General Relief benefits for people with mental or
     7   developmental disabilities, that were directly brought about by this lawsuit. See
     8   ECF 131-5 through 131-25, Exs. C, D, E, F, G, J, K, L, O, P, R, and S attached to
     9   the Declaration of Claudia Menjivar in Support of Motion for Attorneys’ Fees.
    10   The County also changed its training to implement improvements sought by
    11   Plaintiffs. See Exs. M & N, ECF 131-12 to 131-16. As a result, “accepting
    12   Defendants’ figures, the Court may find that the relief afforded by the initiation of
    13   this lawsuit benefits upwards of 3,000 GR applicants per month.” ECF 137 at 17.
    14   This is an “excellent result[]” deserving of a “fully compensatory fee.” Hensley,
    15   461 U.S. at 435.
    16          While no further reduction is required, Plaintiffs, as another exercise of
    17   billing judgment, propose an additional 15% reduction to account for partial
    18   success. Accordingly, Plaintiffs’ total lodestar claim, including work on the fee
    19   motions through April 27, 2018, is $3,966,426.65.
    20          D.    The hourly rates claimed are reasonable.
    21          This motion seeks an award payable to a private law firm working in its pro
    22   bono capacity and four nonprofit legal services programs. Plaintiffs seek
    23   compensation for the private firm, Morrison & Foerster, at the rates it regularly
    24   bills its fee-paying clients. Barquist Decl. ¶ 25; see also Decl. of Barrett Litt ¶ 31
    25   (the “rates [Morrison & Foerster attorneys] seek are well in line with the rates I
    26   have for commercial attorneys and are also justified by other civil rights fee
    27   awards.”)
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     1          Western Center on Law and Poverty, the Legal Aid Foundation of Los
     2   Angeles, Public Counsel, and Disability Rights Legal Center are all legal services
     3   or public interest programs that do not charge their indigent clients fees and thus
     4   depend on fee awards. See, e.g., Newman Decl. ¶ 3. Fees awarded to such
     5   programs should be calculated at market rates equal to those charged by private
     6   attorneys in the community with comparable skill and experience. Serrano v.
     7   Unruh, 32 Cal. 3d at 640-44. Plaintiffs’ attorneys are entitled to their requested
     8   rates if those rates are “within the range of reasonable rates charged by and
     9   judicially awarded comparable attorneys for comparable work.” Children’s Hosp.
    10   & Med. Ctr. v. Bonta, 97 Cal. App. 4th 740, 783 (2002).
    11          For the public interest and legal services programs on the case, Plaintiffs
    12   seek compensation at rates ranging from $525 per hour for a fifth year attorney to
    13   $975 per hour for an attorney with 43 years of experience.3 These rates are well
    14   within the range of rates charged by private law firms and awarded in civil rights
    15   and other cases in the Los Angeles area, as detailed in the declarations of three
    16   recognized fee experts: Barrett Litt, Richard Pearl, and Carol Sobel.
    17          For example, Plaintiffs seek $525 per hour for the work of Claudia
    18   Menjivar, a Legal Aid Foundation of Los Angeles attorney who played an
    19   important role in several aspects of the case. See Arias Decl. ¶ 19. The
    20   declarations list numerous examples of private law firms billing paying clients
    21   higher rates for attorneys with the same level of experience. Pearl Decl. at 13
    22   (Arnold Porter LLP 5-year attorney billed at $645 per hour in 2014); id. (Boies
    23          3
                Plaintiffs seek compensation at current hourly rates to compensate for delay
    24   in payment over the course of the case. See Graham, 34 Cal. 4th at 583-84
    25   (approving use of current rates); Charlebois v. Angels Baseball LP, 993 F. Supp. 2d
         1109, 1119 (C.D. Cal. 2012) (Generally, for a “fee award to be reasonable, it must
    26   be based on current, rather than historic, hourly rates.”).
    27
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     1   Schiller & Flexner $560-$610 in 2016); at 15 (Cooley LLP $560 to $590 in 2016);
     2   at 16 (Gibson Dunn & Crutcher $625 per hour in 2013); at 21 (Munger, Tolles &
     3   Olson $660 in 2016; and at 21 (O’Melveny & Myers $700 per hour in 2016). See
     4   also Carter Decl. ¶ 3 (standard rate for 2013 law school graduate is $850 per hour
     5   at Paul, Hastings, Janofsky & Walker); Elson Decl. ¶ 2 (average standard billing
     6   rate for 5-year attorney is $585 per hour at Manatt, Phelps & Phillips).
     7            Closer to the high end of the scale, Plaintiffs seek $950 per hour for the
     8   work of Mr. Newman, a 1977 Yale Law School graduate with 41 years of litigation
     9   experience who has been one of the lead counsel in this case. A Los Angeles
    10   Superior Court judge ruled last year that Mr. Newman’s then-billing rate of $925
    11   per hour was reasonable. Newman Decl. ¶ 56. In a disability rights case two years
    12   ago in this district, the court awarded lead counsel with 40 years of experience
    13   $1,115.60 per hour. Order Granting Motion for Attorneys’ Fees and Costs, Willits
    14   v. City of Los Angeles, No. CV 10-05782 CBM (RZx) (C.D. Cal. Aug. 25, 2016),
    15   ECF. 418 (Pearl Decl. at 7). See also Doe v. United Health Ins. Co., No. SACV
    16   13-0864 DOC (JPRx), 2014 U.S. Dist. LEXIS 194727 (C.D. Cal. Oct. 15, 2014)
    17   (attorney with 36 years of experience awarded $950 per hour in 2014) (Pearl Decl.
    18   at 9).
    19            Fee expert Barrett Litt has compiled tables showing awards in civil rights
    20   and consumer cases and rates charged by private law firms adjusted for the passage
    21   of years. See Litt Decl. ¶¶ 23-27 (explaining his methodology). Mr. Litt lists no
    22   fewer than 44 instances where attorneys with less experience than Mr. Newman
    23   either were awarded or billed at adjusted rates greater than $950 per hour. Litt
    24   Decl. at 20-23; see also Sobel Decl. ¶ 3 (attorney with 40 years of experience
    25   currently bills at $990 per hour); Carter Decl. ¶ 3 (Paul Hastings partners who
    26   graduated in 1977 bill between $1,025 and $1,050 per hour).
    27            The rates are reasonable for the other attorneys in the case as well, as fee
    28   experts Litt, Pearl, and Sobel all agree and justify in substantial detail. Indeed, a
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     1   court in this district last year approved as reasonable the $850 per hour sought for
     2   Anne Richardson, an attorney with 29 years of experience. Richardson Decl. ¶ 7.
     3          As reasonable as the rates sought would be for most attorneys with
     4   comparable years of experience, they are particularly justified for the attorneys in
     5   this case, who are among the top lawyers in Southern California. For example,
     6   Ms. Richardson has twice won the prestigious California Lawyer Attorney of the
     7   Year (in 2006 and 2017) for her work on major public interest litigation, an award
     8   Mr. Newman has also won as lead counsel in a suit concerning mental health
     9   services to foster children (in 2007). Richardson Decl. ¶ 3; Newman Decl. ¶ 44;
    10   see also Newman Decl. ¶ 50 (noting that co-counsel Richard Rothschild has
    11   received the highest public service awards given by the State Bar of California, the
    12   Los Angeles County Bar Association, and the National Legal Aid & Defender
    13   Association). As another example, Mr. Barquist was named the Los Angeles
    14   patent litigation “Lawyer of the Year” in 2017 and twice selected for inclusion in
    15   The Best Lawyers in America in his area of practice, along with receiving an
    16   award for excellence in legal writing. Barquist Decl. ¶ 13.
    17          As the Court can judge for itself, the quality of the work has been excellent,
    18   deserving of the rates sought here. Those rates are reasonable, as is Plaintiffs’
    19   entire lodestar.
    20   III.   The court should award a multiplier.
    21          Once the lodestar has been calculated, a court may augment or reduce that
    22   figure. Among the factors courts have considered is “the contingent nature of the
    23   fee award, both from the point of view of eventual victory on the merits and the
    24   point of view of establishing eligibility for an award . . . .” Serrano v. Priest, 20
    25   Cal. 3d at 49.
    26          The Ketchum Court endorsed the use of contingency multipliers to
    27   “approximate market-level compensation for such services, which typically
    28   includes a premium for the risk of nonpayment or delay in payment of attorney
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                            PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES IN AN AMOUNT SPECIFIED
         la-1378915                                                                         127
Case
Case2:15-cv-08982-GW-RAO
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     1   fees.” 24 Cal. 4th at 1138. “A lawyer who both bears the risk of not being paid
     2   and provides legal services is not receiving the fair market value of his work if he
     3   is paid only for the second of these functions.” Id. at 1133 (citation omitted).
     4          In “each case,” a trial court should “consider the degree to which the
     5   relevant market compensates for contingency risk . . . .” Id. at 1138. A trial court
     6   commits reversible error when it refuses to consider awarding a contingency
     7   multiplier. Greene v. Dillingham Constr. N.A., Inc., 101 Cal. App. 4th 418, 428-29
     8   (2002); Horsford v. Bd. of Trs. of Cal. State Univ., 132 Cal. App. 4th 359, 395
     9   (2005) (trial court must adjust lodestar to bring “financial incentives” for attorneys
    10   “into line with incentives they have to undertake claims for which they are paid on
    11   a fee-for-service basis.”); see also Mangold, 67 F.3d at 1478-79 (affirming a 2.0
    12   contingency multiplier under California state law).
    13          In Los Angeles, as elsewhere, private attorneys are unlikely to take a
    14   contingent case without the prospect of a multiplier. Stormer Decl. ¶ 12 (“Our
    15   firm primarily takes cases on a contingency basis. Because of the contingent
    16   nature of payment it is necessary that we recover a fee that is substantially more
    17   than that which we would normally charge paying clients on an hourly basis.”);
    18   Sobel Decl. ¶ 34 (“[t]he multiplier is ‘earned compensation’ and brings the
    19   financial incentives for taking such a case into line with work for fee-paying
    20   clients.”); Litt Decl. ¶ 52 (“[c]ases of this type entail substantial risk. The market
    21   rewards such risk by enhancing the lodestar . . . .”); Pearl Decl. ¶ 16 (“an expert
    22   economist who testified in two cases in which I was involved opined that, based on
    23   a statistical risk analysis, attorneys who take cases on a contingent basis should
    24   receive from three to six times the market rates paid to attorneys on a non-
    25   contingent basis.”)
    26          This case was particularly risky from the “point of view of establishing
    27   eligibility for an award . . . .” Serrano v. Priest, 20 Cal. 3d at 49. At no time has a
    28   fee award been guaranteed. Even after Plaintiffs’ counsel negotiated a settlement
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                          PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES IN AN AMOUNT SPECIFIED
         la-1378915                                                                       128
Case
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     1   agreement, the County rejected the settlement, apparently hoping to thwart
     2   payment of attorneys’ fees while implementing many of the improvements
     3   Plaintiffs sought. The County then attempted to deny Plaintiffs the right even to
     4   file a fee motion and later opposed the fee motion once it did get filed. ECF 114,
     5   133. A contingency multiplier is justified.
     6          Another factor favors a multiplier here. In In re Lugo, 164 Cal. App. 4th
     7   1522 (2008), the court affirmed a fee award to the Prison Law Office which
     8   included a multiplier. Among the factors the trial court considered was that “the
     9   monies awarded will not inure to the individual benefit of Petitioner’s counsel but
    10   will be used for nonprofit purposes.” Id. at 1546. The same is true here for the
    11   legal services programs and Morrison & Foerster as well. See, e.g., Newman Decl.
    12   ¶ 3; Barquist Decl. ¶ 28. Court-awarded attorneys’ fees are critical to the ability of
    13   the non-profit law firms in this case to continue to serve California’s low-income
    14   population. This factor, as well as the contingent nature of the litigation, justifies a
    15   1.5 multiplier, or whatever multiplier the Court deems appropriate, for work on the
    16   merits.4
    17   IV.    Plaintiffs should be awarded reimbursement for the costs claimed.
    18          California Code of Civil Procedure § 1032(b) specifies that a “prevailing
    19   party” is entitled to a cost award. As with a fee award under § 1021.5, parties can
    20   be awarded costs even without a judgment when, as in this case, they have
    21   prevailed as a practical matter. Cal. Common Cause v. Duffy, 200 Cal. App. 3d
    22   730, 752 (1987).
    23          The costs sought there, totaling $82,020.13, are compensable under Code of
    24   Civil Procedure § 1033.5. Decls. of Barquist ¶ 9, Newman ¶ 57, Arias ¶ 26 and
    25
    26          4
                 No multiplier is sought for litigating the fee issue. Hence, the cutoff date
    27   for purposes of litigating the merits is November 13, 2017.
    28
                                                        -16-
                            PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES IN AN AMOUNT SPECIFIED
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     1   Rivera ¶ 47.5
     2                                           CONCLUSION
     3           Plaintiffs request that the Court grant the motion and award a lodestar
     4   amount of $3,966,426.65 for work performed through April 27, 2018, augmented
     5   by a 1.5 multiplier, or whatever multiplier the Court deems appropriate, applied to
     6   work on the merits; plus compensation for time reasonably spent on reply papers
     7   and oral argument; plus $82,020.13 reimbursement for costs.
     8
         Dated: May 3, 2018                            Respectfully submitted,
     9
                                                       LEGAL AID FOUNDATION OF
    10                                                 LOS ANGELES
    11                                                 By: /s/ Claudia Menjivar
    12                                                      Claudia Menjivar

    13                                                 WESTERN CENTER ON LAW AND
                                                       POVERTY
    14                                                 By: /s/ Robert D. Newman
    15                                                     Robert D. Newman

    16                                                 MORRISON & FOERSTER LLP

    17                                                 By: /s/ Charles S. Barquist
                                                           Charles S. Barquist
    18
                                                       PUBLIC COUNSEL
    19
                                                       By: /s/ Anne Richardson
    20                                                     Anne Richardson
    21                                                 DISABILITY RIGHTS LEGAL
                                                       CENTER
    22
                                                       By: /s/ Anna Rivera
    23                                                     Anna Rivera
    24
    25
    26           5
                     Public Counsel is not seeking reimbursement for costs. Richardson Decl.
    27   ¶ 23.
    28
                                                         -17-
                             PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES IN AN AMOUNT SPECIFIED
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Case
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                                                                                     ID
                                    #:26625




                            EXHIBIT 1


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                                                                                                                                          Case




                                                     PLAINTIFFS’ ATTORNEYS’ FEES REQUESTED
                                                                               TABLE 1
                              Table 1 reflects the entire lodestar up through April 27, 2018, shortly before the filing of this Motion.


                                     Biller         Firm            Position          Yrs         Rate      Hrs         Total
                                                                                    Practice
                                                                                                                                          Case2:15-cv-08982-GW-RAO




                                                                                   (Grad Yr)
                                    Charles       Morrison           Senior           40 (1978)   $1050    425.4       446,670
                                    Barquist      & Foerster        Counsel
                                                                                                                                               2:85-cv-04544-DMG-AGRDocument




                                    Sean P.       Morrison          Partner           22 (1996)   $950     231.8       220,210
                                                                                                                                                                     Document144




                                     Gates        & Foerster
                                                                                                                                                                               545-1




                                    Ryan          Morrison          Partner           11 (2007)   $875     417.8       365,575
                                                                                                                                                                              #:26626




                                    Malloy        & Foerster
                                                                                                                                                                                  FiledFiled




                                   Heriberto      Morrison         Associate          3 (2015)    $550     751.6       413,380
                                   Alvarez        & Foerster
                                                                                                                                                                                        05/03/18




                                   Matthew        Morrison         Associate          3 (2015)    $550     601.3       330,715
                                                                                                                                                                                             05/28/19




                                    Hofer         & Foerster
                                                                                                                                                                                                   PagePage




                                   Alicia M.      Morrison         Paralegal            N/A       $325     318.1     103,382.50
                                    Lopez         & Foerster
                                                                                                                                                                                                        26 of135




                                   Subtotal:      Morrison                                                 2,746    1,879,932.50
                                                  & Foerster
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                                    Richard      Western       Litigation      43      $975    38.2      37,245
                                   Rothschild    Center         Director     (1975)
                                   Robert D.     Western       General         41      $950    1005     954,750
                                   Newman        Center        Counsel       (1977)
                                   Antionette    Western        Staff          12      $670   327.2     219,224
                                    Dozier       Center        Attorney      (2006)
                                                                                                                    Case2:15-cv-08982-GW-RAO




                                   Claudia       Western        Staff       5 (2013)   $525     97       50,925
                                   Menjivar       Center       Attorney
                                                 (through
                                                   2/15)
                                                                                                                         2:85-cv-04544-DMG-AGRDocument




                                   Subtotal:      WCLP                                        1,467.4   1,262,144
                                                                                                                                               Document144
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                                                                                                                                                        #:26627




                                   Yolanda       LAFLA        Managing        32       $850    282.5    240,125
                                    Arias                     Attorney      (1986)
                                                                                                                                                            FiledFiled




                                    Barbara      LAFLA        Director of     25       $800     22.6     18,080
                                                                                                                                                                  05/03/18




                                    Schultz                   Litigation    (1993)
                                                                                                                                                                       05/28/19




                                     Ryan        LAFLA         Attorney       18       $700    150.6    105,420
                                    Bradley                                 (2000)
                                                                                                                                                                             PagePage




                                   Matthew       LAFLA         Attorney       14       $690    439.9.   303,531
                                                                                                                                                                                  27 of136




                                    Clark                                   (2004)
                                   Claudia        LAFLA        Attorney     5 (2013)   $525    668.7    351,068
                                                                                                                                                                                        33 ofPage




                                   Menjivar     (from 3/15
                                                                                                                                                                                              144 ID




                                                to present)




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                                                                            2
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                                   Subtotal:    LAFLA                                        1564.3    1,018,224


                                      Anne       Public   Directing       29 (1989)   $850     357.2    303,620
                                   Richardson   Counsel   Attorney
                                    Deepika      Public   Attorney        11 (2007)   $650      43      27,950
                                    Sharma      Counsel
                                                                                                                   Case2:15-cv-08982-GW-RAO




                                      Alisa      Public   Attorney        6 (2012)    $545      154     83,930
                                      Hartz     Counsel
                                    Subtotal:    Public                                        554.2    415,000
                                                                                                                        2:85-cv-04544-DMG-AGRDocument




                                                Counsel
                                                                                                                                              Document144
                                                                                                                                                        545-1




                                     Paula       DRLC     Executive       36 (1982)   $920     32.1     29,532
                                                                                                                                                       #:26628




                                    Pearlman               Director
                                                                                                                                                           FiledFiled




                                     Anna        DRLC     Managing        12 (2005)   $690    331.4    228,666
                                     Rivera               Attorney
                                                                                                                                                                 05/03/18
                                                                                                                                                                      05/28/19




                                      Kara       DRLC      Staff          8 (2010)    $565     71.1    40,171.50
                                     Janssen              Attorney
                                                                                                                                                                            PagePage




                                     Richard     DRLC      Staff          6 (2012)    $545     70.3    38,313.40
                                      Diaz                Attorney
                                                                                                                                                                                 28 of137




                                    Subtotal:    DRLC                                         504.9    $336,683
                                                                                                                                                                                       33 ofPage
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                                                                                                   Case




                                                TOTAL ALL FIRMS TO APRIL 27, 2018:


                                          Morrison & Foerster                   $1,879,932.50
                                           Western Center                        $1,262,144
                                               LAFLA                             $1,018,224
                                            Public Counsel                        $415,000
                                                DRLC                              $336,683
                                                                                                   Case2:15-cv-08982-GW-RAO




                                               TOTAL                            $4,911,983.50

                                   TOTAL FOR ALL FIRMS WITH 5% BILLING JUDGMENT REDUCTION
                                                                                                        2:85-cv-04544-DMG-AGRDocument




                                                                $4,666,384.30
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                           TOTAL FOR ALL FIRMS WITH ADDITIONAL 15% REDUCTION FOR PARTIAL SUCCESS
                                                                                                                                           FiledFiled




                                                                $3,966,426.65
                                                                                                                                                 05/03/18
                                                                                                                                                      05/28/19
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                                                                             TABLE 2
                           Table 2 reflects the lodestar for the period up through November 13, 2017, which is the date on which the
                            complaint was dismissed. This is the period and the fees for which the attorneys are seeking a multiplier
                                                                      in the court’s discretion.

                                     Biller        Firm          Position           Yrs        Rate     Hrs          Total
                                                                                 Practice
                                                                                                                                        Case2:15-cv-08982-GW-RAO




                                                                                (Grad Yr)
                                    Charles     Morrison &    Senior Counsel     40 (1978)     $1050   337.3        354,165
                                   Barquist      Foerster
                                    Sean P.     Morrison &        Partner        22 (1996)     $950    231.8        220,210
                                                                                                                                             2:85-cv-04544-DMG-AGRDocument




                                     Gates       Foerster
                                                                                                                                                                   Document144




                                     Ryan       Morrison &        Partner        11 (2007)     $875    410.2        358,925
                                    Malloy       Foerster
                                                                                                                                                                             545-1
                                                                                                                                                                            #:26630




                                   Heriberto    Morrison &       Associate          3 (2015)   $550    656.8        361,240
                                   Alvarez       Foerster
                                                                                                                                                                                FiledFiled




                                   Matthew      Morrison &       Associate          3 (2015)   $550    504.1        277,255
                                     Hofer       Foerster
                                                                                                                                                                                      05/03/18




                                   Alicia M.    Morrison &       Paralegal            N/A      $325    284.6         92,495
                                                                                                                                                                                           05/28/19




                                    Lopez        Foerster
                                   Subtotal:    Morrison &                                             2424.8      1,664,290
                                                                                                                                                                                                 PagePage




                                                 Foerster
                                                                                                                                                                                                      30 of139




                                    Richard      Western        Litigation       43 (1975)     $975     7.5         7,312.50
                                   Rothschild    Center          Director
                                                                                                                                                                                                            33 ofPage




                                   Robert D.     Western         General         41 (1977)     $950    888.3        843,885
                                                                                                                                                                                                                  144 ID




                                    Newman       Center          Counsel




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                                                                                5
                      la‐1379013
                                                                                                                               Case




                                   Antionette    Western      Staff Attorney   12 (2006)      $670    290.3       194,501
                                    Dozier        Center
                                    Claudia      Western      Staff Attorney       5 (2013)   $525     97         50,925
                                   Menjivar       Center
                                                 (through
                                                 February
                                                   2015)
                                    Subtotal:    Wstrn Ctr                                           1,333.10   1,096,623.50
                                                                                                                               Case2:15-cv-08982-GW-RAO




                                   Yolanda        LAFLA        Managing        32 (1986)      $850    247.8       210,630
                                    Arias                       Attorney
                                   Barbara        LAFLA        Director of     25 (1993)      $800     22.6       18,080
                                                                                                                                    2:85-cv-04544-DMG-AGRDocument
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                                   Schultz                     Litigation
                                                                                                                                                                  144




                                    Ryan          LAFLA         Attorney       18 (2000)      $700    150.6       105,420
                                                                                                                                                                    545-1




                                   Bradley
                                                                                                                                                                   #:26631




                                   Matthew        LAFLA         Attorney       14 (2004)      $690    383.8       264,822
                                    Clark
                                                                                                                                                                       FiledFiled




                                   Claudia         LAFLA        Attorney           5 (2013)   $525    603.1       316,628
                                                                                                                                                                             05/03/18




                                   Menjivar     (from March
                                                   2015 to
                                                                                                                                                                                  05/28/19




                                                   present)
                                    Subtotal:      LAFLA                                             1407.9       915,580
                                                                                                                                                                                        PagePage
                                                                                                                                                                                             31 of140




                                      Anne        Public        Directing      29 (1989)      $850    235.9       200,515
                                   Richardson    Counsel        Attorney
                                                                                                                                                                                                   33 ofPage




                                    Deepika       Public        Attorney       11 (2007)      $650     43         27,950
                                                                                                                                                                                                         144 ID




                                    Sharma       Counsel




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                                                                                                                         Case




                                   Alisa Hartz    Public          Attorney        6 (2012)   $545     154     83,930
                                                 Counsel
                                    Subtotal:     Public                                             432.9   $312,395
                                                 Counsel

                                     Paula       DRLC          Executive      36 (1982)      $920    32.1     29,532
                                   Pearlman                     Director
                                     Anna        DRLC          Managing       12 (2005)      $690    298.9   206,241
                                                                                                                         Case2:15-cv-08982-GW-RAO




                                    Rivera                      Attorney
                                     Kara        DRLC        Staff Attorney       8 (2010)   $565    71.1    40,171.50
                                    Janssen
                                                                                                                              2:85-cv-04544-DMG-AGRDocument




                                    Richard      DRLC        Staff Attorney       6 (2012)   $545    70.3    38,313.50
                                                                                                                                                    Document




                                     Diaz
                                                                                                                                                            144




                                   Subtotal:     DRLC                                                472.4   $314,258
                                                                                                                                                              545-1
                                                                                                                                                             #:26632




                                                 TOTAL ALL FIRMS THROUGH NOVEMBER 13, 2017:
                                                                                                                                                                 FiledFiled
                                                                                                                                                                       05/03/18




                                                 Morrison & Foerster                          $1,664,290
                                                                                                                                                                            05/28/19




                                                    Western Center                           $1,096,623.50
                                                                                                                                                                                  PagePage




                                                        LAFLA                                  $915,580
                                                                                                                                                                                       32 of141




                                                    Public Counsel                             $312,395
                                                           DRLC                                $314,258
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                                                        TOTAL                                $4,303,146.50




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                                    #:26633




                                                                            TOTAL FOR ALL FIRMS WITH ADDITIONAL 15% REDUCTION FOR PARTIAL SUCCESS
   TOTAL FOR ALL FIRMS WITH 5% BILLING JUDGMENT REDUCTION




                                                                                                                                                    $3,474,790.80
                                                            $4,087,989.10




                                                                                                                                                                                          8
                                                                                                                                                                                              la‐1379013




                                                                                                                                                                    Exhibit 1, Page 139
                                                                                                                                                                                    25
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                                  #:26634

1    Dated: May 28, 2019               Respectfully submitted,
2
                                       CENTER FOR HUMAN RIGHTS &
3                                      CONSTITUTIONAL LAW
4                                      Peter A. Schey
                                       Carlos Holguín
5
6                                      LA RAZA CENTRO LEGAL, INC.
                                       Michael Sorgen
7
8                                      LAW FOUNDATION OF SILICON VALLEY -
                                       LEGAL ADVOCATES FOR
9                                      CHILDREN & YOUTH
10                                     Jennifer Kelleher Cloyd
                                       Katherine H. Manning
11                                     Annette Kirkham
12
                                       Of counsel:
13
14                                     YOUTH LAW CENTER
                                       Virginia Corrigan
15
16                                     /s/Peter Schey ____________
                                       Attorneys for Plaintiffs
17
18
19
20
21
22
23
24
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26
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28

                                           2             CV 85-4544-DMG (AGRX)
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                                  #:26635

1                                CERTIFICATE OF SERVICE
2

3             I, Peter Schey, declare and say as follows:
4
              I am over the age of eighteen years of age and am a party to this action. I
5
     am employed in the County of Los Angeles, State of California. My business
6

7    address is 256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and
8
     state.
9

10            On May 28, 2019 I electronically filed the following document(s):

11      • EXHIBITS 1-5 IN SUPPORT OF PLAINTIFFS’ MOTION FOR AWARD OF
12        ATTORNEYS FEES AND COSTS
13   with the United States District Court, Central District of California by using the
14
     CM/ECF system. Participants in the case who are registered CM/ECF users will
15

16   be served by the CM/ECF system.
17
                                                                  /s/Peter Schey
18

19                                                                Attorney for Plaintiffs
20
21

22

23

24

25

26

27
28

                                                     1
     EXHIBITS IN SUPPORT OF PLAINTIFFS' MOTION FOR ATTORNEYS FEES
                                                                CV 85-4544-DMG (AGRX)
